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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                UNITED STATES BANKRUPTCY COURT
 88                              CENTRAL DISTRICT OF CALIFORNIA
                                       SANTA ANA DIVISION
 99
      In re:                                        Lead Case No.: 8:22-bk-10948-SC
10
10
      TRX HOLDCO, LLC, a Delaware limited           Jointly administered with:
11
11    liability company,                            8:22-bk-10949-SC
12
12
               Debtor and Debtor in Possession.     Chapter 11 Cases
13
13    ____________________________________
      In re:                                        DECLARATION OF JOSHUA K. BENN IN
14
14
      FITNESS ANYWHERE LLC, a Delaware              ENTRY OF ORDER (I) ESTABLISHING
15
15    limited liability company, dba TRX and TRX    BIDDING PROCEDURES FOR FREE AND
                                                    CLEAR    SALE    OF   ASSETS;    (II)
16    Training,
16                                                  ESTABLISHING PROCEDURES RELATING
                                                    TO ASSUMPTION AND ASSIGNMENT OF
17
17             Debtor and Debtor in Possession.     EXECUTORY       CONTRACTS      AND
      ____________________________________          UNEXPIRED LEASES; (III) APPROVING
18
18                                                  FORMS OF NOTICE; (IV) APPROVING
                                                    FORM OF ASSET PURCHASE AGREEMENT;
19
19       Affects both Debtors                       (V) SCHEDULING AN AUCTION; (VI)
                                                    SCHEDULING A SALE HEARING; AND (VII)
20
20
        Affects TRX Holdco, LLC only                GRANTING RELATED RELIEF
21
21
         Affects Fitness Anywhere, LLC only         Date: June 30, 2022
22
22                                                  Time: 10:00 a.m.
                                                    Place: *Via ZoomGov
23
23                                                          Courtroom 5C
                                                            411 West Fourth Street
24
24                                                          Santa Ana, CA 92701
25
25
26
26
27
27
28
28


                                                   1
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 11          I, Joshua K. Benn, hereby declare under penalty of perjury as follows:

 22          1.      I am a Managing Director and head of the New York Corporate Finance practice

 33                                                      icas M&A and distressed and special situations

 44                                                   onsumer Corporate Finance practice. I have more

 55   than twenty five (25) years of investment banking experience. Attached here as Exhibit 6 is a

 66   true and correct copy of my professional resume.

 77          2.                                                Kroll - was retained prepetition by TRX

 88   Holdco, LLC and Fitness Anywhere, LLC (toget

 99   identify prospective investors and seek to obtain additional investment in
10
10    or engage in a transaction such as a merger and/or acquisition, in order to further capitalize the
11
11                                        operational and growth needs.        My team, led by senior
12
12    professionals, was directly involved with these efforts, and provided the following services:
13
13           a.      Preparation of: (i) marketing materials; and (ii) list of investors and purchasers;
14
14           b.      Board presentations and other internal reporting reports;
15
15           c.      Contacting prospective purchasers and investors to solicit interest in a transaction;
16
16           d.      Processing all process materials including non-disclosure agreements;
17
17           e.      Exerting commercial and reasonable efforts to procure a potential purchaser or
18
18           investor at the earliest, reasonably practical date who is ready, willing and able to
19
19           consummate a transaction on satisfactory terms;
20
20           f.      Participating in diligence and meetings between the Debtors and seriously
21
21           interested parties;
22
22           g.      Organizing and executing a negotiating process with the objective of obtaining
23
23           the best transaction valuation and terms;
24
24           h.      Assisting the company with evaluating offers; and
25
25           i.      Being available to assist the company in negotiating agreements and definitive
26
26           contracts;
27
27
28
28


                                                         2
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 11          3.      I understand the Debtors goal in these bankruptcy cases is to consummate a free

 22   and clear asset sale for the most money possible.

 33          4.      I understand that the Debtors made a determination shortly prior to their

 44   bankruptcy filings that proceeding with a free and clear asset sale process was in the best

 55   interests of their estate. While it appears that there is a substantial amount of interest in the

 66   buying community to acquire the De                                     serve as a stalking horse bid,

 77   since the Debtors only commenced their free and clear asset sale process shortly prior to their

 88   bankruptcy filings, the Debtors do not yet have a stalking horse bid lined up. We therefore

 99   believe that proceeding at this point to the Auction without a stalking horse bid in hand is the
10
10    best option for these bankruptcy estates, with the Debtors retaining the right to seek an
11
11    alternative order from the Court if facts and circumstances dictate otherwise
12
12           5.      The Debtors engaged in extensive consultations with Kroll, and after taking into
13
13                                                           ng the possibility that the Debtors will be
14
14    provided with post-petition financing from the De
15
15
16
16
17
17    Bidding Procedures is optimal in order to achieve the highest and best price for the Purchased
18
18    Assets. Capitalized terms in this Declaration have the same meaning given to such terms in the
19
19    Bid Procedures Motion, unless otherwise indicated.
20
20           6.      The proposed Bidding Procedures are designed to ensure that the highest price
21
21    possible is paid for the Purchased Assets by a purchaser who has the financial ability to close on
22
22    a purchase of the Purchased Assets. This is being done by providing all prospective buyers with
23
23    a level playing field with no bidder having any financial advantage over any other bidder. Kroll
24
24    has already established an extensive data room and, to date, approximately 45 prospective
25
25                                                           ged in the data room in connection with the
26
26    current asset sale process, and Kroll is receivi
27
27    meaning that this is a very active asset sale process. Kroll is also in discussions with numerous
28
28    prospective buyers regarding the possibility of serving as a stalking horse bidder. Even if the


                                                         3
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 11   Debtors reach an agreement with a financially qualified buyer to serve as the stalking horse

 22   bidder which will then be presented to the Court for approval, the Debtors will still insist upon an

 33   overbid process to make sure that all prospective bidders have the opportunity to overbid the

 44   stalking horse bid at an open Auction process to insure that the highest and best price is

 55   ultimately paid for the Purchased Assets.

 66            7.    Attached as Exhibit 1 to this Declaration is a proposed Bidding Procedures

 77   Order;

 88            8.    Attached as Exhibit 2 to this Declaration are the Bidding Procedures proposed by

 99   the Debtors for the sale of the Purchased Assets free and clear of all liens, claims, encumbrances
10
10    and other interests.
11
11             9.    Attached as Exhibit 3
12
12    of assumption and assignment of contracts and leases, cure amounts and related information to
13
13    be provided to all counterparties to executory contracts and unexpired leases.
14
14             10.   Attached as Exhibit 4
15
15    of sale to be sent to all creditors, equity holders, proposed buyers and other parties in interest.
16
16             11.   Attached as Exhibit 5
17
17             12.   The proposed Bidding Procedures provide a structure for the sale of the Purchased
18
18    Assets that is designed to insure that the highest and best price is paid for the Purchased Assets
19
19    and that the sale closing occurs at the earliest reasonable possible date under the circumstances
20
20    of these bankruptcy cases.
21
21    ///
22
22    ///
23
23    ///
24
24    ///
25
25    ///
26
26    ///
27
27    ///
28
28    ///


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 11   RON BENDER (SBN 143364)
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 66   Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                UNITED STATES BANKRUPTCY COURT
 88                              CENTRAL DISTRICT OF CALIFORNIA
                                       SANTA ANA DIVISION
 99
      In re:                                        Lead Case No.: 8:22-bk-10948-SC
10
10
      TRX HOLDCO, LLC, a Delaware limited           Jointly administered with:
11
11    liability company,                            8:22-bk-10949-SC
12
12
               Debtor and Debtor in Possession.     Chapter 11 Cases
13
13    ____________________________________
      In re:                                        ORDER     (I) ESTABLISHING   BIDDING
14
14                                                  PROCEDURES FOR FREE AND CLEAR
      FITNESS ANYWHERE LLC, a Delaware              SALE OF ASSETS; (II) ESTABLISHING
15
15    limited liability company, dba TRX and TRX    PROCEDURES RELATING TO ASSUMPTION
                                                    AND     ASSIGNMENT   OF  EXECUTORY
16    Training,
16                                                  CONTRACTS AND UNEXPIRED LEASES;
                                                    (III) APPROVING FORMS OF NOTICE; (IV)
17
17             Debtor and Debtor in Possession.     APPROVING FORM OF ASSET PURCHASE
      ____________________________________          AGREEMENT;     (V)  SCHEDULING    AN
18
18                                                  AUCTION; (VI) SCHEDULING A SALE
                                                    HEARING; AND (VII) GRANTING RELATED
19
19       Affects both Debtors                       RELIEF
20
20
        Affects TRX Holdco, LLC only                Date: June 30, 2022
21                                                  Time: 10:00 a.m.
21
         Affects Fitness Anywhere, LLC only         Place: *Via ZoomGov
22
22                                                          Courtroom 5C
                                                            411 West Fourth Street
23
23                                                          Santa Ana, CA 92701
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 11           A hearing was held at the above-referenced date and time for the Court to consider

 22

 33

 44                                            debtors and debtors-in-possession in the above-captioned

 55   Chapter 11 bankruptcy cases1, seeking the entry of an order that, among other things:

 66           (i)

 77                   substantially in the form in                  attached to the Declaration of Joshua

 88                   Benn filed by the Debtors as Docket No.

 99                                                                 assets related to the operation of the
10
10                                                                                  ear of all liens, claims,
11
11                    encumbrances and other interests;
12
12            (ii)    Establishes and approves procedures re
13
13                    assignment of executory contracts and unexpired leases and which approves the
14
14                    form of notice to be provided to all counterparties to executory contracts and
15
15                    unexpired leases attached as                to the Benn Declaration;
16
16            (iii)                                                     e to be sent to all creditors, equity
17
17                    holders, proposed buyers and other parties in interest in the form attached as
18
18                                   to the Benn Declaration;
19
19            (iv)
20
20                                                                              Exhibit
21
21                    Declaration;
22
22            (v)
23
23            (vi)    Schedules a hearing for the Court to consider approval of the sale of the
24
24                    Purchased Assets to the winning bidder and winning back-up bidder at the
25
25
26
26            (vii)   Grants related relief.
27
27
      1
       The Court previously entered an order approving the joint administration of these chapter 11 bankruptcy
28
28    cases.



                                                         2
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 11            Appearances were made at the hearing on the Motion as set forth on the record of the

 22   Court.
               The Court, having considered the Motion and all of the pleadings filed by the Debtors in
 33

 44   support of the Motion, the statements, arguments and representations of counsel for the Debtors

 55   made at the hearing on the Motion, any responses or objections filed to the Motion and any

 66   replies filed by the Debtors, the statements, arguments and representations of all other parties
 77
      who appeared at the hearing on the Motion, and good cause appearing,
 88
               HEREBY ORDERS AS FOLLOWS:
 99
               1.      The Bidding Procedures are approved.
10
10
11             2.      July 27, 2022 at 5 p.m. (prevailing Pacific tim
11
12
12                                                           itted by parties who wish to participate in the

13
13    Auction. In order to participate in the Auction, all prospective bidders must do all of the
14
14    following:
15
15
               (i)     Submit a redlined version of the template asset purchase agreement (the
16
16
                                                                       at are requested to be made to the
17
17
                       Template APA, with the Template APA to include their proposed initial bid;
18
18
               (ii)    Submit all documents to enable Kroll to determine whether the proposed bidder is
19
19
                       financially qualified to participate in the Auction; and
20
20
               (iii)   Submit a deposit equal to 10% of the proposed initial bid, which 10% deposit
21
21
                       would be deemed non-refundable if the bidder is deemed to be the winning bidder
22
22
                       at the Auction and then the                                 ear sale of the Purchased
23
23
                       Assets to the bidder is approved by the Bankruptcy Court. Bidders will have the
24
24
                       right to withdraw their bid at any time up until Noon (prevailing Pacific time) on
25
25
                       August 2, 2022, in which case they will receive a return of their 10% deposit and
26
26
                       no longer be eligible to participate in the Auction.
27
27
28
28


                                                         3
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 11          3.      The procedures proposed by the Debtors in
 22   assumption and assignment of executory contracts and unexpired leases are approved, and the
 33
                                                             to all counterparties to executory contracts and
 44
      unexpired leases attached as              to the Benn Declaration is approved.
 55
             4.                                                         sent to all creditors, equity holders,
 66

 77   proposed buyers and other parties in interest in the form attached as                      to the Benn

 88   Declaration is approved.

 99          5.                                                                          Exhibit
10
10
      Benn Declaration (without exhibits) is approved.
11
11
             6.      The Auction shall be held on August 3, 2022 at 10 a.m. (prevailing Pacific time),
12
12
      at the offices of Levene, Neale, Bender, Yoo & Golubchik L.L.P., located at 2818 La Cienega
13
13
14    Avenue, Los Angeles, CA, with Qualified Bidders having the option to participate in person or
14
15
15    via zoom, and the Auction procedures proposed by the Debtors in the Motion are approved.

16
16           7.
17
17    the Purchased Assets to the Winning Bidder at the Auction (and to approve the Winning Back-
18
18
      Up Bidder) will be held on August __, 2022, at __:__
19
19
      shall file their proposed asset sale motion and related pleadings (collect
20
20
      with the Court by no later than twenty-one days prior to the Sale Hearing. Any objections to the
21
21
22
22    Sale Motion must be filed with the Court by no later than fourteen days prior to the Sale Hearing.

23
23    Any reply pleadings to any objections filed to the Sale Motion must be filed with the Court by no

24
24    later than seven days prior to the Sale Hearing.
25
25
26
26
27
27
28
28


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                         BIDDING PROCEDURES - TRX HOLDCO, LLC AND
 1

 2                   FITNESS ANYWHERE LLC, dba TRX and TRX TRAINING

 3

 4   sale by TRX Holdco, LLC and Fitness Anywhere LLC, dba TRX and TRX Training (collectively,
 5
                                                      assets (excluding cash and bankruptcy avoidance
 6
     actions). A schedule of the assets being sold is attached hereto as E
 7
             At a hearing held on June 30, 2022 before the United States Bankruptcy Court for the
 8
     Central District of California,
 9

10   8:22-bk-10948-SC being jointly administered with Case No.: 8:22-bk-10949-SC, the Bankruptcy

11   Court approved these Bidding Procedures, which are intended to ensure that the highest and best
12   possible price is paid for the Assets by a purchaser who has the financial ability to close on the
13
     sale of the Assets (the                                          Court order approving these Bidding
14

15
             These Bidding Procedures assume that there will be an open auction for the sale of the
16

17   Assets with no stalking horse bidder. 1

18                                     Free and Clear Sale of the Assets.

19                                              take place on August 3, 2022, at the law offices of Levene,
20                                                            ), which is serving as bankruptcy counsel to
21
     the Debtors, at which the sale of the Assets will occur.              All qualified bidders and their
22
     representatives will be authorized to appear at the Auction in person or by video zoom. The zoom
23

24

25

26   1
      The Debtors reserve the right to seek a further order of the Bankruptcy Court to alter these Bidding
     Procedures, including to include a stalking horse bidder, if the Debtors determine that doing so is in the
27   best interests of their bankruptcy estates.
28                                                       1
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     information for the Auction will be provided in advance to all Qualified Bidders who wish to
 1

 2   participate in the Auction by zoom.

 3          The sale of the Assets will be free and clear of all liens, claims and interests pursuant to

 4   Section 363(b) and (f) of the Bankruptcy Code, with any liens that exist against the Assets to attach
 5
     to the proceeds of the sale with the same validity and priority as such liens have in and to the
 6
     Assets. Without limiting the generality of the foregoing, the sale of the Assets will be free and
 7
     clear of the only known lien held against the Assets which is in favor of Woodforest National Bank
 8

 9

10                                            Bidding Process

11

12   financial advisor and investment banker. Kroll and LNBYG will jointly conduct the Auction.
13
                                     Key Dates for Interested Bidders
14
            These Bidding Procedures provide interested parties with a detailed explanation of what
15
     they need to do to participate in the Auction.
16

17          The key dates for the Auction and related free and clear asset sale process are as follows:

18    July 27, 2022 at 5 p.m. (prevailing Pacific
      time)                                               bids to be submitted by all parties who wish
19
                                                          to participate in the Auction. In order to
20                                                        participate in the Auction, all prospective
                                                          bidders must do all of the following:
21                                                            1. Submit a redlined version of the
                                                                  template asset purchase agreement
22
                                                                changes that are requested to be made
23
                                                                to the Template APA, with the
24                                                              Template APA to include their
                                                                proposed initial bid;
25                                                           2. Submit all documents to enable Kroll
                                                                to determine whether the proposed
26                                                              bidder is financially qualified to
                                                                participate in the Auction; and
27

28                                                    2
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 1                                                           3. Submit a deposit equal to 10% of the
                                                                proposed initial bid, which 10%
 2                                                              deposit would be deemed non-
                                                                refundable if the bidder is deemed to
 3                                                              be the winning bidder at the Auction
 4
                                                                 and clear sale of the Assets to the
 5                                                               bidder is approved by the Bankruptcy
                                                                 Court. Bidders will have the right to
 6                                                               withdraw their bid at any time up until
                                                                 Noon (prevailing Pacific time) on
 7                                                               August 2, 2022, in which case they
 8                                                               will receive a return of their 10%
                                                                 deposit and no longer be eligible to
 9                                                               participate in the Auction.

10    August 3, 2022 at 10 a.m. (prevailing Pacific       Auction to be held at the offices of Levene,
      time)                                               Neale, Bender, Yoo & Golubchik L.L.P.,
11                                                        which are located at 2818 La Cienega
                                                          Avenue, Los Angeles, CA, or via zoom with
12                                                        all Qualified Bidders to be provided with
                                                          particulars in advance of the Auction.
13
      ____________, 2022 at __:__ a.m./p.m.               Sale Hearing to be conducted before the
14
                                                          Bankruptcy Court for the Bankruptcy Court
15                                                                                 sale of the Assets to
                                                          the winning bidder at th
16

17    August 12, 2022                                     Outside date by when the winning bidder at
                                                          the Auction is required to close its purchase
18                                                        of the Assets unless the winning bidder and
                                                          the Debtors jointly agree to extend the outside
19
                                                          closing date
20
                      Due Diligence Access / Auction Participation Requirements
21

22           In order to participate in the Auction process as a bidder, a person or entity interested in

23                                                          liver or have previously delivered to Kroll all

24                                                                                  ecuted non-disclosure
25   agreement with the form to be obtained from Kroll; (2) a statement demonstrating a bona fide
26
     interest in purchasing the Assets; and (3) one of the following: (i) written evidence of readily
27

28                                                    3
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                                                       initial bid and any increase the Potential Bidder
 1

 2   desires to have authority to bid to, with Kroll to keep all such information completely confidential,

 3   (ii) a firm commitment for financing sufficient for the Potential Bidder to timely consummate its

 4   purchase of the Assets, or (iii) other sufficient information, which may include current audited
 5
     financial statements and the latest unaudited financial statements of the Potential Bidder and/or its
 6
     equity holders, or such other form of financial disclosure and credit-quality support or
 7
     enhancement that will allow Kroll to make a reas
 8
     financial and other capabilities to timely consummate its purchase of the Assets. Any Potential
 9

10   Bidder who has satisfied the foregoing Participation Requirements will be afforded, subject to the

11   other provisions of these Bidding Procedures, due diligence access and additional information
12   through access to an online data room, as well as, upon reasonable advance notice, on-site visits
13
     and direct communication with management as the Potential Bidder desires and Kroll determines
14
     to be appropriate under the circumstances and subject to the availability of such management.
15
                                         Due Diligence Limitations
16

17          The Debtors and Kroll shall not be obligated to furnish any due diligence information to

18   any Potential Bidder after the Bid Deadline. In their discretion, the Debtors and Kroll may, but

19   shall not be obligated to, furnish additional information after the Bid Deadline to Qualified
20   Bidders. The Debtors and Kroll reserve the right to withhold any due diligence materials from any
21
     Potential Bidder that the Debtors and Kroll determine are business-sensitive or otherwise not
22
     appropriate for disclosure to any Potential Bidder who is a competitor of the Debtors or is affiliated
23
     with any competitor of the Debtors.
24

25

26

27

28                                                     4
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             Neither the Debtors nor Kroll nor any of their representatives or advisors shall be obligated
 1

 2   to furnish information of any kind whatsoever to any person or entity who is not determined to

 3   have satisfied the Participation Requirements.

 4           All due diligence requests must be directed to Kroll, Attn: Joshua Benn
 5
     (Joshua.benn@kroll.com); Vijay Sampath (Vijay.sampath@kroll.com); Russell Norowitz
 6
     (russell.norowitz@kroll.com); and Greg Klein (Greg.Klen@kroll.com).
 7
                                    Due Diligence from Potential Bidders
 8
             Each Potential Bidder shall comply with all reasonable requests for additional information
 9

10   by the Debtors or Kroll or their advisors regarding such Potential Bidder, including, without

11                                                             close the Sale. The Failure by a Potential
12   Bidder to comply with any such requests may be a basis for the Debtors and Kroll to determine
13
     that such Potential Bidder is not or cannot be a Qualified Bidder.
14
                                     Initial Bid Deadline for All Bidders
15
             The deadline for all bidders to submit their in                                         July
16

17   27, 2022 at 5:00 p.m. (prevailing Pacific time)

18   transmitted electronically and must be received on or before the Bid Deadline by Kroll, LNBYG

19   and the Official Committee of Unsecured Cr
20                                                      l Bid received after the Bid Deadline shall not be
21
     considered unless the Debtors and Kroll, for good cause, consent.
22
                                                 Bid Requirements
23
             To be eligible to participate in the Auction, each Initial Bid and each Potential Bidder
24

25                                                          determined by the Debtors and Kroll to have

26   satisfied all of the conditions listed be

27

28                                                      5
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          1.     Terms. An Initial Bid must be accompanied by a clean and redlined version of the
 1

 2        APA, with the redlined version of the APA to

 3        changes to the Template APA. The form temp

 4        can be obtained by any Potential Bidder from either Kroll or LNBYG, and a copy will be
 5
          available in the online data room being maintained by Kroll. The APA must include
 6
          binding, executed transaction documents and be signed by an authorized representative of
 7
          the Bidder.
 8
          2.     No Contingencies. An Initial Bid must include a statement that there are no
 9

10                                                         to enter into or consummate a definitive

11        agreement, other than entry by the Bankruptcy Court of an order approving the sale of the
12        Assets to the Bidder.
13
          3.     Bid Requirements. An Initial Bid must set forth a cash purchase price for the
14
          Assets. Without limiting the generality of the foregoing, an Initial Bid (i) may not contain
15
          representation or warranties, covenants, or termination rights materially more onerous in
16

17        the aggregate than are set forth in the Template APA, as determined by the Debtors and

18        Kroll, (ii) may not be conditioned upon obtaining financing, any internal, regulatory, or

19        other third party approvals, or on the outcome or review of due diligence, (iii) may not
20        provide for a closing date that will be later than August 12, 2022, unless both the Debtors
21
          and the winning bidder jointly agree to extend the Sale closing date at their sole and
22
          absolute discretion, and (iv) may not be conditioned upon the Bankruptcy Court order
23
          approving the sale beco
24

25        4.     Irrevocable. An Initial Bid must state that unless the Bidder withdraws its Initial

26        Bid by Noon (prevailing Pacific time) on August 2, 2022, the offer made by the Bidder in

27

28                                                 6
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          its Initial Bid is binding and irrevocable until the conclusion of the Sale Hearing and such
 1

 2        Initial Bid must continue to remain binding and irrevocable through the Sale Closing if the

 3        Initial Bid or any higher bid submitted by the Bidder at the Auction is accepted by the

 4        Debtors at the Auction as the Winning Bid (defined below) or the Winning Back-Up Bid
 5
          (defined below) and approved by the Bankruptcy Court at the Sale Hearing.
 6
          5.     Identity of Bidder. An Initial Bid must fully disclose the identity of each entity or
 7
          person that will be bidding for or purchasing the Assets, including all material equity
 8
          holders (i.e., parties that own at least 10% of the equity of the Bidder) in the case of a
 9

10        Bidder that is an entity specially formed for the purpose of effectuating the contemplated

11        transaction, or otherwise participating in connection with such Initial Bid, and the complete
12        terms of any such participation, including any agreements, arrangements or understanding
13
          concerning collaborative or joint bid or any other combination concerning the proposed
14
          Initial Bid. An Initial Bid must also fully disclose any connection with or participation by
15

16

17        An Initial Bid must also fully disclose any connection with or participation by any current

18        creditor or equity holder of the Debtors.

19        6.     Contact Information.       An Initial Bid must include the names and contact
20        information (including phone numbers and email addresses) of all authorized
21
          representatives of the Bidder who will be available to answer questions regarding the Initial
22
          Bid, including advisors and related parties.
23
          7.     Deposit. An Initial Bid must include a good-faith deposit in immediately available
24

25        funds equal to ten percent (10%) of the amount of the Initial Bid (the

26        Bidder elects to increase the amount of its Initial Bid at the Auction, the Bidder will not be

27

28                                                    7
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          required to increase the amount of its Deposit.
 1

 2        including any Initial Bid, is determined to be the Winning Bid at the Auction and the Bidder

 3        who submitted such Winning Bid fails to timely close the Sale for any reason other than

 4        the Bankruptcy Court not approving the Winning Bid at the Sale Hearing, the Deposit shall
 5
          become non-refundable and be forfeited to the Debtors. The same shall apply to any
 6
          Winning Back-Up Bid in the event the Winning Bidder fails to timely close the Sale, the
 7
          Winning Back-Up Bidder is notified in writing that it is now the Winning Bidder, and the
 8
          Winning Back-Up Bidder fails to close its purchase within ten (10) days of having been
 9

10        notified that it is now the Winning Bidder, unless the Winning Bidder and the Debtors

11        jointly agree to extend the sale closing date. All Deposits of all Qualified Bidders shall be
12        held in a segregated trust account maintained by LNBYG and shall be returned (other than
13
          with respect to the Winning Bidder and the Winning Back-Up Bidder) promptly after the
14
          conclusion of the Auction. All Bidders shall have the right to withdraw their Initial Bid at
15
          any time up until Noon (prevailing Pacific time) on August 2, 2022, in which case the
16

17        Bidder will receive a return of their Deposit and be prohibited from participating in the

18        Auction.

19        8.     Financing Sources. An Initial Bid must contain written evidence of available
20        funds or a firm irrevocable commitment for financing sufficient to consummate the
21
          proposed Sale with appropriate contact information for such financing sources, with Kroll
22
          to determine whether such evidence of financing satisfies these Bidding Requirements and
23

24

25        sole and absolute discretion.

26

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           9.     Designation of Assigned Contracts and Leases. Subject to the ability of the
 1

 2         Debtors to obtain an order of the Bankruptcy Court approving of th

 3         and assignment of any executory contract or unexpired lease to the Winning Bidder, an

 4                                                        executory contracts and unexpired leases with
 5
           respect to which the Bidder seeks assignment from the Debtors, with the Winning Bidder
 6
           having the right to amend such list at any time prior to the commencement of the Sale
 7
           Hearing.
 8
           10.    Designation of Assumed Liabilities. An Initial Bid must identify all liabilities that
 9

10         the Bidder proposes to assume.

11         11.    Termination Fees. An Initial Bid must not entitle the Bidder to any break-up fee,
12         termination fee, expense reimbursement or similar type of payment or reimbursement, and
13
           by submitting the Initial Bid, the Bidder waives the right to pursue a substantial
14
           contribution claim under 11 U.S.C. §503 related in any way to the submission of its Initial
15
           Bid or its participation in the Auction.
16

17         12.    Identities of the Receiving Parties: All Initial Bids must be delivered by email to

18         each of the following parties (colle

19         (a)   Kroll,   Attn:   Joshua    Benn          (Joshua.benn@kroll.com);    Vijay   Sampath
20   (Vijay.sampath@kroll.com); Russell Norowitz (russell.norowitz@kroll.com); and Greg Klein
21
     (Greg.Klen@kroll.com); LNBYG - Attention: Ron Bender (RB@LNBYG.com) and Krikor J.
22
     Meshefejian (KJM@LNBYG.com) and _____________________________________________.
23
                                  Qualified Bidders and Qualified Bids
24

25         Potential Bidders who have satisfied the Participation Requirements and Bid Requirements

26                                                        Bids that meet all of the Bid Requirements

27

28                                                    9
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                                                            in each case, only if the Debtors and Kroll
 1

 2   conclude in the exercise of their business judgment, that such Initial Bid would be consummated

 3   if selected as the Winning Bid; provided, however, that, for avoidance of doubt, if any Qualified

 4   Bidder fails to comply with reasonable requests for additional information and due diligence access
 5
     from the Debtors or Kroll to their satisfaction, the Debtors and Kroll shall have right, in their sole
 6
     and absolute discretion, to disqualify any Qualified Bidder and Qualified Bid, and such Bidder
 7
     shall not be entitled to attend or otherwise participate in the Auction.
 8
                                        No Other Use of Credit Bids
 9

10          Other than the Bank, there are no known liens against the Assets. Accordingly, other than

11   the Bank should it wish to be a Bidder, no other party in interest or creditor may offer any type of
12   credit bidding in connection with any Bid or the Sale.
13
                                          Notice of Qualified Bids
14
            By 2:00 p.m. (prevailing Pacific time) on August 2, 2022, Kroll shall identify to all
15
     Qualified Bidders: (a) each and every Initial Bid that Kroll considers to be a Qualified Bid and (b)
16

17   if more than one Qualified Bid has been timely received, the Qualified Bid that will constitute the

18   Opening Bid at the Auction and the bidding order in which the Auction will be conducted.

19                                                 Auction
20          If no Qualified Bids are received then the Auction will be deemed automatically cancelled
21
     unless the Debtors and Kroll determine otherwise, in their sole and absolute discretion. If only
22
     one Qualified Bid is received, there will be no Auction and the Qualified Bidder will be deemed
23
     the Winning Bidder. If more than one Qualified Bid is received, the Auction will proceed as
24

25   scheduled with the Auction to commence at 10:00 a.m. (prevailing Pacific time) on August 3, 2022

26

27

28                                                    10
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     at the law offices of Levene, Neale, Bender, Yoo & Brill L.L.P., 2818 La Cienega Avenue, Los
 1

 2   Angeles, California [with zoom participation permitted].

 3                                   Participation in and Attendance at Auction

 4           Only Kroll, the Debtors, and Qualified Bidders along with their representatives, counsel,
 5
     and advisors, and the Official Committee of Unsecured Creditors and its counsel may attend the
 6
     Auction (such Auction to be in person or via Zoom, Webex or similar virtual means, as applicable),
 7
     and only Qualified Bidders shall be permitted to submit any Bids at the Auction.
 8
                                 No Collusion; Good Faith Bona Fide Offer
 9

10           Each Qualified Bidder participating in the Auction will be required to confirm on the record

11   at the Auction that: (i) it has not engaged in any collusion with respect to the bidding; (ii) its Initial
12   Bid and any higher bid submitted at the Auction is a good-faith bona fide offer; (iii) it intends to
13
     consummate the proposed transaction if selected as the Winning Bidder; and (iv) it acknowledges
14
     that, if chosen, it will serve as the Winning Back-Up Bidder.
15
                                          Opening Bid at the Auction
16

17           The Qualified Bid determined by Kroll and the Debtors to constitute the highest and best

18

19   Qualified Bidders in advance of the Auction which Initial Bid has been accepted as the Opening
20   Bid at the Auction and the order in which the bidding at the Auction will proceed.
21
                                            Conducting the Auction
22
             Kroll and LNBYG will direct and preside over the Auction. At the start of the Auction,
23
     and after each Qualified Bidder acknowledges on the record that it has not engaged in any collusion
24

25   with respect to the bidding, that its Initial Bid is a good faith bona fide offer, and that it intends to

26   consummate the proposed transaction if selected as the Winning Bidder or the Winning Back-Up

27

28                                                      11
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     Bidder, Kroll and LNBYG will identify, confirm and describe the Opening Bid. The bidding will
 1

 2   then ensue in the bidding order provided by Kroll to all Qualified Bidders in advance of the

 3   Auction. All bidding after the Opening Bid shall continue in bidding increments of at least

 4   $100,000 or figures that are wholly divisible by $100,000. All bids will be made and received in
 5
     one room (or otherwise in the presence via Zoom, Webex or similar virtual means of all parties),
 6
     on an open basis, and all Qualified Bidders will be entitled to be present for all bidding with the
 7
     understanding that the identity of each Qualified Bidder will be fully disclosed to all Qualified
 8
     Bidders before the Auction and the material terms of each Qualified Bid submitted prior to the
 9

10   Auction, and all successive bids made at the Auction, will be fully disclosed to all Qualified

11   Bidders. All Qualified Bidders will be permitted to bid at the Auction based on what Kroll and
12   LNBYG determine to be an appropriate amount of time to respond to each prior submitted Bid.
13
            Prior to the Auction, Kroll will randomly assign to each Qualified Bidder a bidder number,
14
     except that the Qualified Bidder whose Initial Bid was accepted as the Opening Bid will be
15
     assigned bidder number 1. Once the Opening Bid has been described by Kroll and LNBYG, the
16

17   bidding will then pass to Bidder number 2. Bidder number 2 will have the option of submitting an

18   overbid to the Opening Bid of at least $100,000 or dropping out of the Auction. Once a Bidder

19   drops out of the Auction, the Bidder will no longer be permitted to participate in the Auction. After
20   Bidder number 2 either submits a qualifying overbid or drops out of the Auction, the bidding will
21
     then pass to Bidder number 3. This process will continue until only two Qualified Bidders are left,
22
     in which case the Qualified Bidder who submits the highest Qualified Bid will be deemed the
23
     Winning Bidder at the Auction, and the Qualified Bidder who submits the second highest Qualified
24

25   Bid will be deemed the Winning Back-Up Bidder at the Auction.

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28                                                    12
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            Except as expressly provided in the Bidding Procedures Order or the provisions of these
 1

 2   Bidding Procedures, the Debtors and Kroll shall have the right to conduct the Auction in the

 3   manner they reasonably determine, in the exercise of their business judgment, to be in the best

 4                                          estates. The Debtors and Kroll shall also have the right to
 5
     deviate from these Bidding Procedures without the need for any further order of the Bankruptcy
 6
     Court if they reasonably determine, in the exercise of their business judgment, that doing so would
 7
                                                            estates and is not inconsistent with any of the
 8
     provisions of the Bankruptcy Code or any previously entered order of the Bankruptcy Court
 9

10   including the Bidding Procedures Order.

11          Kroll and LNBYG, in consultation with the Debtors, may (1) determine which Qualified
12   Bid, if any, is the highest, best and otherwise financially superior offer and (2) reject at any time
13
     any Bid that is (i) inadequate or insufficient, (ii) not in conformity with the requirements of the
14
     Bankruptcy Code or these Bidding Procedures, or (iii) contrary to the best interests of the Debtors
15
     or their bankruptcy estates; provided that, the highest, best, and otherwise financially superior offer
16

17   shall be the Qualified Bid at the Auction reasonably expected to result in the highest amount of

18   money being paid to the Debtors for their purchase of the Assets.

19                       Selection of the Winning Bid and Winning Back-Up Bid
20          The Auction shall continue until there is one Qualified Bid that Kroll and LNBYG, in
21
     consultation with the Debtors, determine, subject to Bankruptcy Court approval at the Sale
22

23

24

25   deemed concluded. The Debtors will not consider any Bids submitted after the conclusion of the

26   Auction.

27

28                                                     13
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            Subject to the Bankruptcy Court approving the Winning Bid at the Sale Hearing and
 1

 2                                                     nd clear sale of the Assets to the Winning Bidder

 3   in accordance with the APA submitted by the Wi

 4   Bidder shall be requiring to close the Sale by August 12, 2022 (unless the Debtors and the Winning
 5
     Bidder jointly agree to an extension of this outside Sale closing date which will be in their sole
 6
     and absolute discretion), or the Winning Bidder will be deemed to have forfeited its Deposit to the
 7
     Debtors. Promptly following the closing of the Sale to the Winning Bidder, LNBYG shall return
 8
     the Deposit of the Winning Back-Up Bidder to the Winning Back-Up Bidder.
 9

10          If the Winning Bidder fails to close the Sale by August 12, 2022, unless the Debtors and

11   the Winning Bidder mutually agree in their sole and absolute discretion to extend the closing date,
12   Kroll shall so notify the Winning Back-Up Bidder. The Winning Back-Up Bidder will then have
13
     ten (10) days following the date of having been notified by Kroll to close the Sale. If the Winning
14
     Back-Up Bidder fails to close the Sale within this time period, unless the Debtors and the Winning
15
     Back-Up Bidder mutually agree in their sole and absolute discretion to extend the closing date, the
16

17   Winning Back-Up Bidder will be deemed to have forfeited its Deposit to the Debtors.

18                    Return of Deposits Following the Completion of the Auction

19          Promptly following the completion of the Auction, LNBYG will return the Deposits of all
20   Bidders except for the Deposits of the Winning Bidder and the Winning Back-Up Bidder.
21
                                               Sale Hearing
22
            The hearing for the Bankruptcy Court to approve the outcome of the Auction and the
23
                                                     dder and to the Winning Back-Up Bidder if the
24

25                                                                          ld on August ___, 2022, at

26   __:__ a.m./p.m., or at such other date and time set by the Bankruptcy Court.

27

28                                                   14
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                                         Conduct of Sale Hearing
 1

 2          Because of the COVID-19 pandemic, the Bankruptcy Court will conduct the Sale Hearing

 3   using ZoomGov audio and video technology. Participants and members of the public may

 4   participate in and/or observe the Sale Hearing using ZoomGov, free of charge. Individuals may
 5
     connect by ZoomGov audio and video using a personal computer (equipped with camera,
 6
     microphone and speaker), or a handheld mobile device with an integrated camera, microphone and
 7
     speaker (such as an iPhone, iPad, Android phone or Android tablet). The connection can be
 8
                                                          b browser on any of these devices, provided the
 9

10   device is connected to the Internet. Individuals connecting in this manner will be prompted for

11   the Meeting ID and Password. Individuals may also connect to the Sale Hearing by telephone
12   only. Individuals connecting to the Sale Hearing by telephone will also be prompted for the
13
     Meeting ID and Password. Neither a Zoom nor a ZoomGov account is necessary to participate in
14
     or observe the Sale Hearing, and no pre-registration is required. The Zoom information will be
15
     provided to parties in interest prior to the Sale Hearing. More information on appearing before the
16

17   Bankruptcy Court by ZoomGov is available in th

18

19

20                                           Audio Recording
21
            The audio portion of the Sale Hearing will be recorded electronically by the Bankruptcy
22
     Court and constitute its official record. All persons are strictly prohibited from making any other
23
     recording of court proceedings, whether by video, a                             rwise. Violation of
24

25   this prohibition may result in the imposition of monetary and non-monetary sanctions.

26

27

28                                                   15
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                   EXHIBIT "3"
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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13             Debtor and Debtor in Possession.        Chapter 11 Cases
      ____________________________________
14
14    In re:                                           NOTICE OF: (1) ASSUMPTION AND
                                                       ASSIGNMENT      OF   EXECUTORY
15
15    FITNESS ANYWHERE LLC, a Delaware                 CONTRACTS      AND    UNEXPIRED
      limited liability company, dba TRX and TRX       LEASES; (2) ESTABLISHMENT OF
16
16                                                     CURE AMOUNTS IN CONNECTION
      Training,
                                                       THEREWITH; (3) PROCEDURES AND
17
17                                                     DEADLINES            REGARDING
               Debtor and Debtor in Possession.        OPPOSITIONS TO ASSUMPTION AND
18
18    ____________________________________             ASSIGNMENT, AND CURE AMOUNTS;
                                                       AND (4) HEARING THEREON
19
19
20       Affects both Debtors                          Date:
20
                                                       Time:
21
21      Affects TRX Holdco, LLC only                   Place: *Via ZoomGov
                                                              Courtroom 5C
22
22       Affects Fitness Anywhere, LLC only                   411 West Fourth Street
                                                              Santa Ana, CA 92701
23
23
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24
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 11        TO COUNTERPARTIES TO EXECUTORY CONTRACTS AND UNEXPIRED
      LEASES OF THE DEBTORS:
 22

 33          PLEASE TAKE NOTICE that a hearing will be held on ______ __, 2022, commencing
      at __:__ _.m., at the above-referenced Courtroo
 44   Court to consider approval of
      and Fitness Anywhere LLC, dba TRX and TRX Tr                                   together with Hold
 55                                                         s and debtors-in-possession in the above-
      captioned, jointly-administered Chapter 11 bankruptcy cases, seeking an order of the Court: (1)
 66                                   substantially all of their asse
 77
      assumption and assignment to the Winning Bidder of those executory contracts and unexpired
 88   leases that the Winning Bidder wishes to assume;
      executory contracts and unexpired leases which are not assumed and assigned and which the
 99   Debtors desire to reject; and (4) granting related relief. The hearing on the Motion will be held
      virtually via ZoomGov. Information to access and attend the virtual hearing via ZoomGov can
10
10
      be obtained on the Bankruptcy C                                      ntative ruling calendar of the
11
11    Honorable Scott C. Clarkson for _______ __, 2022.

12
12           PLEASE TAKE FURTHER NOTICE that a schedule of all
      executory contracts and unexpired
13
13                                      s owing by the Debtors to the other parties to
14    those executory contracts and une
14
      Exhibit 1.
15
15
              PLEASE TAKE FURTHER NOTICE that an executory contract and/or unexpired
16
16    lease to which you are a counterparty may be assumed and assigned to the Winning Bidder. Any
      executory contract and/or unexpired lease which is not assumed and assigned may be rejected by
17
17    the Debtors.
18
18
              By way of the Motion, the Debtors are seeking                           assume and assign
19
19                                                       utory contracts and unexpired leases that the
      Winning Bidder wants to have assigned to it and to fix the required Cure Amounts that would
20
20    need to be paid to the other parties to the executory contracts and unexpired leases to enable
      compliance with the provisions of Section 365(b)(1)(A) of the Bankruptcy Code at the Cure
21
21    Amounts set forth in the Contracts and Leases Schedule unless the other parties to the executory
22
22    contracts and unexpired leases file a timely objection to the Motion and the Court determines
      that the required Cure Amount is different than the amount set forth in the Contracts and Leases
23
23    Schedule. By way of the Motion, the Debtors are also seeking a determination by the Court that
      none of the other parties to the executory contracts and unexpired leases have suffered any actual
24
24    pecuniary loss resulting from any default by the Debtors so that no further payments beyond the
      proposed Cure Amounts are required to enable compliance with the provisions of Section
25
25    365(b)(1)(B) of the Bankruptcy Code.
26
26
              Since the identity of the Winning Bidder is not known at this time (and will not be known
27
27    until the conclusion of the Auction), the Debtors have no way of knowing which executory
      contracts and unexpired leases, if any, the Winning Bidder will to have assigned to it.
28
28


                                                      2
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 11   Accordingly, this Notice has been served on every counterparty to all executory contracts or
      unexpired leases; thus, every counterparty to an executory contract or unexpired lease that could
 22   be subject to an assumption and assignment should read this Notice and Exhibit 1 to this Notice
 33   and consider the relief being requested by the Debtors, and to the extent they oppose the relief
      being requested by the Debtors, comply with the procedures and deadlines set forth below.
 44
              PLEASE TAKE FURTHER NOTICE that if you are a party to an executory
 55   contract or unexpired lease with the Debtors and you: (A) oppose the Motion; (B) oppose
      the assumption or assignment of any executory contract or unexpired lease; or (C) contend
 66   that (i) the required Cure Amount is different than the amount set forth in the Contracts
 77   and Leases Schedule and/or (ii) you have suffered any actual pecuniary loss resulting from
      any default by the Debtors and you contend that additional payments beyond the proposed
 88   Cure Amounts are required to enable compliance with the provisions of Section
      365(b)(1)(B) of the Bankruptcy Code, you must file a written opposition to the Motion with
 99   the Court by no later than ________, 2022 setting forth your (A) opposition to the
      assumption and assignment of your contract and/or lease; (B) contention as to the required
10
10
      Cure Amount and/or (C) contention of the extent to which you have suffered actual
11
11    pecuniary loss resulting from any default by the Debtors that you contend must be satisfied
      beyond the proposed Cure Amounts to enable compliance with the provisions of Section
12
12    365(b)(1)(B) of the Bankruptcy Code. Any such written opposition must state the basis for
      such objection, and state with specificity what Cure Amount(s) you believe is required (in
13
13    all cases with appropriate documentation in support thereof).
14
14
             PLEASE TAKE FURTHER NOTICE that objections to any Cure Amount or to
15
15    assumption and assignment will be heard at the Sale Hearing, or at a later hearing, as determined
      by the Debtors.
16
16
             PLEASE TAKE FURTHER NOTICE of the following conditions, procedures and
17
17    deadlines established by the Court:
18
18
             (1)      Any objection solely to the Cure Amount(s) may not prevent or delay the
19
19                                            of assumed and assigned contract(s) or lease(s). If a party
      objects solely to Cure Amount(s), the Debtors may, with the consent of the Winning Bidder, hold
20
20    the claimed Cure Amount(s) in reserve pending further order of the Court or mutual agreement
      of the parties. So long as the Cure Amount is held in reserve, and there are no other unresolved
21
21    objections to assumption and assignment of the applicable assumed and assigned contract(s) or
22
22    lease(s), the Debtors will, without further delay, assume and assign such contract(s) or lease(s) to
      the Winning Bidder. Under such circumstances, the objecting non-De
23
23    recourse will be limited to the funds held in reserve.

24
24            (2)   If no objection to the Cure Amount(s) is timely received, the Cure Amount(s) set
      forth in Exhibit 1 to this Notice shall be controlling notwithstanding anything to the contrary in
25
25    any assigned contract(s) or lease(s) or other document(s) as of the date of this Notice.
26
26
             (3)     Within one day following the conclusion of the Auction, the Winning Bidder will
27
27    be required to provide to the Debtors a list of those executory contracts and unexpired leases that
      the Winning Bidders elects to have assumed and
28
28    Winning Bidder at closing of the sale pursuant to Bankruptcy Code Section 365, subject to the


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 11                                                       contracts or unexpired leases. The Debtors
      will thereafter notify the counter-parties to the Designated C
 22   preliminary determination in this regard.
 33
             (4)    To the extent that any non-Debtor counterparty wishes to object to the
 44   adequate assurance of future performance by the Winning Bidder under the applicable
      executory contract(s) or unexpired lease(s), then such non-Debtor counterparty shall file a
 55   written objection with the Court at least one day prior to the Sale Hearing.
 66          (5)    To the extent that any non-Debtor counterparty does not timely file and
      serve an objection as set forth above, such counterparty will be: (i) deemed to have
 77
      consented to the Cure Amount(s), if any, set forth in Exhibit 1 to this Notice; (ii) barred,
 88   estopped and enjoined from asserting any additional Cure Amount(s) or pecuniary loss
      under the assumed and assigned executory contract(s) or unexpired lease(s); (iii) barred
 99   from objecting to the assumption and assignment of the applicable assumed and assigned
      executory contract(s) or unexpired lease(s) to the Winning Bidder, and (iv) barred from
10
10    objecting to adequate assurance of future performance by the Winning Bidder.
11
11
              (6)     The inclusion of a contract or lease in Exhibit 1 to this Notice shall not constitute
12
12    or be deemed a determination or admission by the Debtors, the Winning Bidder or any other
      party in interest that such document is, in fact, an executory contract or unexpired lease within
13
13    the meaning of the Bankruptcy Code or that such contract or lease will be assumed. The Debtors
      reserve all of their rights, claims and causes of action with respect to the contracts or leases listed
14
14    in Exhibit 1 to this Notice and any other contracts or leases to which the Debtors are a party.
15
15           PLEASE TAKE FURTHER NOTICE that the failure of a party in interest to file and
16
16    serve a timely objection to the Motion may be deemed by the Cour
      consent to all of the relief requested by the Debtors in the Motion.
17
17
      Dated: July __, 2022                           TRX HOLDCO, LLC
18
18                                                   FITNESS ANYWHERE LLC
19
19
                                                     By:
20
20                                                           RON BENDER
                                                             KRIKOR J. MESHEFEJIAN
21
21                                                           LINDSEY L. SMITH
                                                             LEVENE, NEALE, BENDER,
22
22                                                           YOO & GOLUBCHIK L.L.P.
23                                                           Proposed Attorneys for Chapter 11 Debtors
23
                                                             and Debtors in Possession
24
24
25
25
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28


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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                UNITED STATES BANKRUPTCY COURT
 88                              CENTRAL DISTRICT OF CALIFORNIA
                                       SANTA ANA DIVISION
 99   In re:                                    Lead Case No.: 8:22-bk-10948-SC

10
10    TRX HOLDCO, LLC, a Delaware limited           Jointly administered with:
      liability company,                            8:22-bk-10949-SC
11
11
12
12             Debtor and Debtor in Possession.     Chapter 11 Cases
      ____________________________________
13
13    In re:
                                                    MOTION   FOR   AN    ORDER:  (1)
14
14    FITNESS ANYWHERE LLC, a Delaware              APPROVING SALE OF SUBSTANTIALLY
      limited liability company, dba TRX and TRX
15
15    Training,                                     AND CLEAR OF ALL LIENS, CLAIMS,
16
16                                                  ENCUMRBANCES AND INTERESTS; (2)
               Debtor and Debtor in Possession.
17
17    ____________________________________          ASSUMPTION AND ASSIGNMENT OF
                                                    CERTAIN EXECUTORY CONTRACTS
18
18                                                  AND   UNEXPIRED  LEASES  AND
         Affects both Debtors                       DETERMINING CURE AMOUNTS AND
19
19
20
20      Affects TRX Holdco, LLC only                EXECUTORY         CONTRACTS       AND
                                                    UNEXPIRED LEASES WHICH ARE NOT
21
21       Affects Fitness Anywhere, LLC only         ASSUMED       AND     ASSIGNED;    (3)
                                                    WAIVING THE 14-DAY STAY PERIODS
22
22                                                  SET FORTH IN BANKRUPTCY RULES
                                                    6004(h) AND 6006(d); AND (4) GRANTING
23
23
                                                    RELATED RELIEF
24
24
                                                    Date: _________
25
25                                                  Time: _________
                                                    Place: *Via ZoomGov
26
26                                                         Courtroom 5C
27                                                         411 West Fourth Street
27
                                                           Santa Ana, CA 92701
28
28


                                                   1
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 11        PLEASE TAKE NOTICE that a hearing will be held on _______ __, 2022,
      commencing at __:__ _.m., at the above-referenced Courtroom, via ZoomGov, for the Court to
 22

 33
                                       debtors and debtors-in-possession in the above-captioned
                                   1
 44   Chapter 11 bankruptcy cases , seeking the entry of an order of the Court: (1) approving the

 55
                                                       auction to be held on August 3, 2022 (the
 66                                                  encumbrances and other interests pursuant to 11
 77                                                  assumption and assignment of certain executory
      contracts and unexpired leases and determini
 88   rejection of those executory contracts and unexpired leases which are not assumed and assigned
      which the Debtors determine to reject; (3) waiving the 14-day stay periods set forth in Rules
 99   6004(h) and 6006(d) of the Federal Rules of Bankruptcy Procedure; and (4) granting related
      relief. The hearing on the Motion will be held virtually via ZoomGov. Information to access
10
10
      and attend the virtual hearing via ZoomGov can
11
11    by viewing the tentative ruling calendar of the Honorable Scott C. Clarkson for _______ __,
      2022.
12
12
              PLEASE TAKE FURTHER NOTICE that on _______, 2022, the Bankruptcy Court
13
13    entered an order [Doc___] approving the bidding
14    Exhibit 1 to this Notice. Creditors, equity interest holders, prospective bidders and parties in
14
      interest should carefully read the attached Bidding Procedures, which set forth detailed
15
15    instructions, requirements and deadlines pertaining to bid qualifications, the Auction and the
      sale of the Purchased Assets.
16
16
             PLEASE TAKE FURTHER NOTICE that any objection to the Motion or to the sale of
17
17    the Purchased Assets as contemplated by the Mo                      sumption and assignment
18    of contracts and leases to the Winning Bidder or the Winning Back-Up Bidder must: (a) be in
18
      writing; (b) comply with the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy
19
19    Rules; (c) be filed with the clerk of the Court and served on
                                       Bender, Yoo & Golubchik L.L.P., Attn: Ron Bender
20
20    (RB@LNBYG.com); Krikor J. Meshefejian (KJM@LNBYG.COM); and Lindsey L. Smith
      (LLS@LNBYG.COM), and the U.S. Trustee on or before _______ __, 2022.
21
21
22
22             PLEASE TAKE FURTHER NOTICE that the failure of a party in interest to file and
      serve a timely objection to the Motion may be deemed by the Cour
23
23    to all of the relief requested by the Debtors in the Motion.

24
24           PLEASE TAKE FURTHER NOTICE that the Motion is based upon this Notice, the
      Memorandum of Points and Authorities attached to the Motion, the concurrently filed ____
25
25    Declaration and the other supportive declarations and all Exhibits attached thereto, the entire
26
26                                                   statements, arguments, and representations of

27
27
      1
       The Court previously entered an order approving the joint administration of these chapter 11
28
28    bankruptcy cases.


                                                     2
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 11   counsel to be made at the hearing on this Motion, and any other evidence properly presented to
      the Court.
 22

 33                                        Additional Information

 44          The Debtors made a determination shortly prior to their bankruptcy filings that
      proceeding with a free and clear asset sale process was in the best interests of their estate. After
 55                                                     garded and experienced investment banker in
 66                                     post-petition loan to be provi
 77   secured lender, Woodforest Nati                                    ors prepared, submitted to the
      Court, and obtained Court approval of the Bidding Procedures, which the Debtors believe
 88   provide the optimal procedures and timetable in order to achieve the highest and best price for
      the Purchased Assets. The Bidding Procedures document attached as Exhibit 1 to this Notice
 99   explains to prospective bidders how a prospective bidder becomes qualified to participate in the
      Auction and how the Auction would proceed in the event that there is one or more qualified
10
10
      bidders. In addition, Kroll has established an extensive data room for prospective bidders to
11
11                                                         senior management has made themselves
      available to meet with prospective bidders subject to the terms and conditions of the Bidding
12
12    Procedures. To assist in the                                  ounsel prepared an asset purchase
      agreement template for prospective bidders to use if they want, and has delivered that template to
13
13    Kroll to distribute to prospective bidders.
14
14
              The Debtors are providing all prospective buyers with a level playing field with no bidder
15
15    having any financial advantage over any other bidder. 2 Kroll has already established an
      extensive data room and, to date, approximately 45 prospective bidders
16
16    are actively engaged in the data room in connection with the current asset sale process, and Kroll
      is receiving new and additional inqui
17
17    sale process. Kroll is also in discussions with numerous prospective buyers regarding the
18    possibility of serving as a stalking horse bidder. Even if the Debtors reach an agreement with a
18
      financially qualified buyer to serve as the stalking horse bidder which will then be presented to
19
19    the Court for approval, the Debtors will still insist upon an overbid process to make sure that all
      prospective bidders have the opportunity to overbid the stalking horse bid at an open Auction
20
20    process to insure that the highest and best price is ultimately paid for the Purchased Assets.
21
21           For all of these reasons and the others set forth in the Motion, the Memorandum of Points
22
22    and Authorities attached to the Motion, and the concurrently filed declaration(s), the Debtors
      request that the Court grant the Motion without delay to allow the Debtors to consummate their
23
23    sale of the Purchased Assets to the Winning Bidder or the Winning Back-Up Bidder at the
      hearing on ________, __, 2022, and immediately thereaft
24
24    order.
25
25           WHEREFORE, the Debtors respectfully request that the Bankruptcy Court:
26
26
      2
27
27      The Debtors reserve the right to accept a stalking horse bid presented to the Debtors before
      July 27, 2022 and/or to seek a further order of the Bankruptcy Court to modify any of the terms
28
28


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 11           1.      Find that notice of the Motion was proper, timely, adequate, appropriate and
      sufficient and that no other or further notice of the Motion, the hearing on the Motion, or the sale
 22   of the Purchased Assets is or shall be required;
 33
            2.      Find good, sufficient, and sound business purposes and justification and
 44   compelling circumstances for the Debtor

 55           3.  Approve the sale of the Purchased Assets to the Winning Bidder and the Winning
      Back-Up Bidder at the Auction free and clear of all liens, claims, encumbrances and other
 66   interests;
 77
             4.     Find that the Winning Bidder and Winning Back-Up Bidder at the Auction are
 88   good faith buyers entitled to all of the protections afforded by section 363(m) of the Bankruptcy
      Code;
 99
            5.     Enter a sale order in a form that is mutually agreed to between the Debtors and the
10
10
      Winning Bidder and Wining Back-up Bidder;
11
11
             6.       Authorize the Debtors to enter into an APA in a form that is consistent with the
12
12    terms of the sale order;
13
13           7.      Waive the 14-day stay periods set forth in Bankruptcy Rules 6004(h) and 6006(d);
14    and
14
15
15           8.      Grant such other and further relief as the Court deems just and proper.

16
16    Dated: ______ __, 2022                        TRX HOLDCO, LLC
                                                    FITNESS ANYWHERE LLC
17
17
18                                                  By:
18
                                                           RON BENDER
19
19                                                         KRIKOR J. MESHEFEJIAN
                                                           LINDSEY L. SMITH
20
20                                                         LEVENE, NEALE, BENDER,
                                                           YOO & GOLUBCHIK L.L.P.
21
21                                                         Proposed Attorneys for Chapter 11 Debtors
22
22                                                         and Debtors in Possession

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                                 ASSET PURCHASE AGREEMENT




                                             . Certain other capitalized terms used in this
Agreement are defined in Exhibit A attached hereto. Buyer and Sellers are collectively defined


                                           R E C I T A L S:




                                                assigned Lead Case No.: 8:22-bk-10948-SC (for
Holdco) being jointly administered with Case No.: 8:22-bk-10949-SC (for Fitness Anywhere).

        WHEREAS, Buyer desires to purchase and Seller desires to sell to Buyer the Purchased
Assets, as defined below, subject to the terms and conditions of this Agreement.

                                            AGREEMENT

         NOW, THEREFORE, in consideration of the terms, covenants, and conditions hereinafter set
forth, the Parties agree as follows:

                                             ARTICLE I

               ASSETS BEING PURCHASED; ASSUMPTION OF LIABILITIES

         1.1     Purchased Assets. Subject to the terms and conditions of this Agreement, Buyer
hereby agrees to purchase from Sellers, and Sellers hereby agree to sell, convey, transfer and assign
to Buyer, on the Closing Date (as                                     right, title and interest in and to
all of the assets of Sellers used in connection with the Business and which are identified below (the

Code. The Purchased Assets consist of the following:

                  (a)
   and other similar assets or tangible personal property owned by Sellers which are identified in the


                  (b)
   contracts, licenses, instruments, commitments and understandings that are listed in


                   (c) All advance payments, claims for refunds and deposits, and other prepaid
   items relating to the Purchased Assets or the Assumed Obligations, existing as of the Closing
   Date;
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                 (d)
  Schedule 1.1(d) attached hereto and all schedules, records and other documentation related to such
  accounts or notes receivable;

                 (e)
  with, the conduct of the Business or pertaining to the Purchased Assets, regardless of the medium
  on which such information is stored or maintained including, without limitation, all customer and
  employment records, vendor information and contracts, business plans and strategies, financial
  and operational data and reports, and marketing information and materials;

                  (f)
  authorizations of governmental or regulatory entities that are required under any laws, rules and
  regulations applicable to or affecting the Business, which are set forth on Schedule 1.1(f);

                 (g)
  leasehold improvements thereon, all of which are identified in the real property schedule attached
  hereto as Schedule 1.1(g);

                  (h)
  1.1(h);

                  (i)
  such Intellectual Property Rights, including, without limitation, (i) the right to use, copy, modify,
  exploit, license, assign, convey and pledge the Intellectual Property Rights, (ii) the right to
  exclude others from using the Intellectual Property Rights, (iii) the right to sue others and collect
  damages for past, present and future infringement of the Intellectual Property Rights, (iv) the right
  to create derivatives of the Intellectual Property and retain full ownership thereof, and (v) the right
  to file and prosecute applications for registration, now pending or hereinafter initiated, to protect
  any rights in the Intellectual Property Rights, a detailed list of which is set forth on Schedule
  1.1(i);

                  (j) All insurance benefits, including rights and proceeds, arising from or relating
  to the Purchased Assets or the Assumed Obligations (as defined herein) prior to the Closing Date
  except for those set forth on Schedule 1.1(j) which shall be part of the Excluded Assets;

                  (k)                                         (pending or not) against third parties
  relating to the Purchased Assets, whether choate or inchoate, known or unknown, contingent or
  non-contingent except for those set forth on Schedule 1.1(k) which shall be part of the Excluded
  Assets;

                  (l) Customer lists and contact information, which customers are listed on
  Schedule 1.1(l); and

                  (m) All goodwill associated with the Business and the Purchased Assets.

       1.2     Excluded Assets. Purchaser shall not acquire, and Sellers shall retain, all of the
following assets, properties and rights owned by Se

                  (a) All contracts and leases of Sellers that are not Assigned Contracts;
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                 (b) All notes receivable and any other debt instruments providing for money
  owing to Sellers;

                 (c) All cash and cash equivalents of Sellers and all other items set forth on
  Schedule 1.2(c) which shall also be part of the Excluded Assets;

                  (d) The corporate seals, minute books, stock books, tax returns and other similar

  related files or records other than personnel files of employees hired by Buyer;

                  (e) Except as to the Purchased Assets, all insurance recovery rights of Sellers and
  all tax refunds owing to Sellers, including, but not limited to, those set forth on Schedule 1.2(e)
  which shall also be part of the Excluded Assets;

                  (f) All rights to all claims, causes of action, choses in action, rights of recovery
  and rights of set-off (whether choate or inchoate, known or unknown, contingent or non-
  contingent) in favor of Sellers that are not included with Section 1.1(k) above, and all avoidance
  causes of action existing under any of sections 544-553, inclusive, of the Bankruptcy Code; and

                  (g) All other assets identified in Schedule 1.2.

        1.3    Assumed Obligations. Buyer hereby agrees to assume and to pay when due all of
the following outstanding obligations of Sellers: [Buyer to complete]. Buyer also agrees to assume
all executory obligations arising after the Closing Date under the Assigned Contracts and those
obligations specifically identified on Schedule 1.3 (c
Assumed Obligations shall include all obligations and liabilities arising out of any default of Sellers
under any Assumed Obligation, regardless of when such liability or obligation is asserted.

          1.4   Liabilities Not Being Assumed. Except for the Assumed Obligations, Sellers agree
that Buyer shall not be obligated to assume or perform and is not assuming or performing any
liabilities or obligations of Sellers, whether known or unknown, fixed or contingent, certain or
uncertain, and regardless of when such liabilities or obligations may arise or may have arisen or
when they are or were asserted.

                                            ARTICLE II

                     PURCHASE PRICE AND BANKRUPTCY MATTERS

       2.1    Purchase Price. As consideration for the sale to Buyer of the Purchased Assets and
the assumption of the Assumed Obligations, Buyer shall pay to Sellers a cash payment of
_____________________ Dollars ($_______) by wire transfer of immediately available funds to an



and (ii) the $_________balance shall be wire transferred to counsel for Sellers no later than August


Sellers to be the winning bidder at the Auction and, subject to the entry of the Sale Order by the
Bankruptcy Court, Buyer fails to consummate its purchase by the Outside Closing Date (unless
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Buyer and Sellers jointly agree to extend the Outside Closing Date), Buyer shall be deemed to have
permanently forfeited the Deposit with Sellers as liquidated damages.

       2.2    Allocation of Purchase Price. The Purchase Price shall be allocated among the
Purchased Assets and the Assumed Obligations, in the manner set forth in Exhibit B attached hereto

Parties agree to complete the Purchase Price Allocation within thirty (30) days after the Closing.
Each of the Parties, when reporting the transactions consummated hereunder in their respective tax
returns, shall allocate the Purchase Price paid or received, as the case may be, in a manner that is
consistent with the Purchase Price Allocation set forth in Exhibit B hereto. Additionally, each of the
Parties will comply with, and furnish the information required by Section 1060 of the Internal


         2.3    Third Party Consents. Notwithstanding anything to the contrary in this Agreement,
this Agreement shall not constitute an agreement to assign or transfer any governmental approval,
instrument, contract, lease, permit or other agreement or arrangement, including the Assigned
Contracts, or any claim, right or benefit arising thereunder or resulting therefrom if an assignment or
transfer or an attempt to make such an assignment or transfer without the consent of a third party
would constitute a breach or violation thereof or affect adversely the rights of Buyer or Sellers,
thereunder unless such assignment is approved by the Bankruptcy Court; and any transfer or
assignment to Buyer by Sellers, as applicable, of any interest under any such instrument, contract,
lease, permit or other agreement or arrangement that requires the consent of a third party shall be
made subject to such consent being obtained from the contracting party or approval being obtained
from the Bankruptcy Court. In the event that any such consent or approval is not obtained on or prior
to the Closing Date, Sellers shall continue to use all commercially reasonable efforts (without paying
any additional consideration to the other party to such instrument, contract, lease, permit or other
agreement or arrangement regarding such asset or in connection with obtaining any approval or
consent) to obtain any such approval or consent after the Closing Date as promptly as possible, and
Sellers will cooperate with Buyer in any lawful and reasonable arrangement to provide that Buyer
shall receive the interest of Sellers in the benefits under any such instrument, contract, lease, or
permit or other agreement or arrangement. However, it shall be the sole responsibility of Buyer to
satisfy the Bankruptcy Code requirements to enable Sellers to assume and assign to Buyer any of the
Assigned Contracts, including that it shall be B

assurance of future performance, as required, with respect to all of the Assigned Contracts.

       2.4     Bankruptcy Matters.

                  (a) Payment of Cure Costs Under Assigned Contracts. As promptly as
  practicable following the execution of this Agreement, Buyer and Sellers shall use commercially
  reasonable efforts to cooperate and determine an estimate of the amounts required to cure all
  defaults under each Assigned Contract so as to permit the assumption and assignment of each such
  Assigned Contract pursuant to Section 365 of the Bankruptcy Code (as ultimately determined by

  the Assigned Contracts, Buyer shall pay all Cure Costs on or before the Closing.
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                                           ARTICLE III

                  REPRESENTATIONS AND WARRANTIES OF SELLERS

        Subject to the disclosures and exceptions set forth in the disclosure schedules attached hereto
                                                   reby make the representations and warranties set
forth hereinafter in this Section 3 to Buyer:

         3.1     Authority and Binding Effect. Subject to the approval of the Bankruptcy Court,
Sellers have the full corporate power and authority to execute and deliver this Agreement and the Bill
of Sale (as hereinafter defined). This Agreement, the Bill of Sale and the consummation by Sellers
of their obligations contained herein and therein have been duly authorized by all necessary corporate
actions of Sellers and such agreements have been duly executed and delivered by Sellers. Subject to
the approval of the Bankruptcy Court, this Agreement is a valid and binding agreement of Sellers,
enforceable against Sellers in accordance with its terms, and, upon execution and delivery, the Bill of
Sale will be a valid and binding agreement of Sellers and shall be enforceable against Sellers in
accordance with its terms.

        3.2    Organization and Standing. Sellers are corporations duly organized, validly
existing and in good standing under the laws of the State of Delaware. Sellers have the requisite
corporate power and authority to conduct the Business as it is now conducted and to own or lease the
Purchased Assets, and to use such Purchased Assets in the conduct of the Business.

       3.3     Condition and Title to Purchased Assets.

                  (a) Purchased Assets. Buyer acknowledges and agrees that it is purchasing, and


  conducted, such investigations and inspections of the Purchased Assets as it has deemed necessary
  or appropriate for the purposes of this Agreement.

             (b) No Warranties Regarding Purchased Assets. EXCEPT AS EXPRESSLY
  SET FORTH IN THIS AGREEMENT, SELLERS MAKE NO REPRESENTATIONS,
  STATEMENTS OR WARRANTIES, EXPRESS OR IMPLIED, OF ANY KIND OR NATURE
  WHATSOEVER CONCERNING THE PURCHASED ASSETS, INCLUDING, WITHOUT
  LIMITATION, ANY WARRANTIES REGARDING THE CONDITION, QUANTITY OR
  QUALITY OF ANY OR ALL OF THE PURCHASED ASSETS OR CONCERNING THE
  PAST, PRESENT OR FUTURE PROFITABILITY OR VIABILITY OF THE BUSINESS, AND
  ANY AND ALL IMPLIED WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A
  PARTICULAR PURPOSE ARE DISCLAIMED HEREBY BY SELLERS.

                    (c) Title to and Adequacy of Purchased Assets. Except as disclosed on
Schedule 3.3 hereto, Sellers have, and on the Closing Date will convey and transfer to Buyer, good,
complete and marketable title to all of the Purchased Assets, free and clear of all Encumbrances of
any nature whatsoever. Except as set forth on Schedule 3.3, all of the Purchased Assets (excluding
customers) are in the exclusive possession and control of Sellers, and Sellers have the unencumbered
right to use, and to sell to Buyer in accordance with the terms and provisions of this Agreement, all
of the Purchased Assets without interference from and free of the rights and claims of others.
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       3.4      Insurance. Sellers have delivered to Buyer true and correct copies of all policies of
                                                      and omissions, malpractice and other forms of
insurance maintained by or on behalf of Sellers in connection with the Business as protection for the
Purchased Assets. All of such policies are now in full force and effect. Sellers have not received any
notice of cancellation or material amendment of any such policies. No coverage thereunder is being
disputed; and all material claims thereunder have been filed in a timely fashion.

        3.5     No Broker
as their exclusive investment banker, Sellers have not retained or used the services of any agent,
finder or broker in connection with the transactions contemplated by this Agreement. Sellers shall be



                                            ARTICLE IV

                    REPRESENTATIONS AND WARRANTIES OF BUYER

       Buyer hereby makes the representations and warranties set forth in this Section 4 to Sellers:

        4.1     Authority and Binding Effect. Buyer has the full corporate power and authority to
execute and deliver this Agreement and the Bill of Sale (as hereinafter defined). This Agreement and
the Bill of Sale and the consummation by Buyer of its obligations contained herein and therein have
been duly authorized by all necessary corporate actions of Buyer and such agreements have been
duly executed and delivered by Buyer. This Agreement is a valid and binding agreement of Buyer,
enforceable against Buyer in accordance with its terms, and, upon execution and delivery, this
Agreement and the Bill of Sale will be valid and binding agreements of Buyer and shall be
enforceable against it in accordance with their terms. It is not necessary for Buyer to take any action
or to obtain any approval, consent or release by or from any third person, governmental or other, to
enable Buyer to enter into or perform its obligations under this Agreement and the Bill of Sale.

        4.2     Organization and Standing. Buyer is a corporation duly organized and validly
existing under and is in good standing under the laws of the State of _______. Buyer has all requisite
corporate power to own and operate its properties and assets, and to carry on its business as presently
conducted. Buyer is duly qualified to do business and is in good standing in each jurisdiction in
which the character of the business conducted by it or the location of the properties owned or leased
by it make such qualification necessary.

         4.3     Compliance with Other Instruments. The execution and delivery of this
Agreement, the Bill of Sale and all other agreements to be entered into in connection herewith and
the consummation of the transactions contemplated hereby and thereby will not conflict with or
result in any violation of any law, rule, regulation, judgment, order, decree or ordinance applicable to
Buyer or its properties or assets, or conflict with or result in any breach or default (with or without
notice or lapse of time, or both) under, or give rise to a right of termination, cancellation or
acceleration of any obligation or to loss of a material benefit, under (i) any provision of the
Certificate of Incorporation or bylaws of Buyer; or (ii) any material agreement, contract, note,
mortgage, indenture, lease, instrument, permit, concession, franchise or license or any writ, order or
decree to which Buyer is a party or by which Buyer or any of its property is bound.
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        4.4     Governmental Consent, etc. No consent, approval, order or authorization of, or
registration, declaration or filing with, any governmental entity is required by or with respect to
Buyer in connection with the execution and delivery of this Agreement or the consummation by
Buyer of the transactions contemplated hereby.

       4.5    No Broker. Buyer has not retained or used the services of an agent, finder or broker
in connection with the transactions contemplated by this Agreement. Buyer shall pay, and shall

fees and expenses charged or asserted by any agent, finder or broker, by reason of any such retention
or use of the services of any such agent, finder or broker by Buyer.

        4.6    Investigation. Buyer acknowledges and affirms that it has completed its own
independent investigation, analysis and evaluation of the Purchased Assets, that it has made all such
reviews and inspections of the Purchased Assets as it deems necessary and appropriate, and that in
making its decision to enter into this Agreement, it has relied on its own investigation, analysis, and
evaluation with respect to all matters without reliance upon any express or implied representations or
warranties other than those expressly set forth in this Agreement, as to which it has relied.

       4.7    Funding. Buyer has all funding available to it to enable it to consummate its
purchase of the Purchased Assets and to pay all of the other obligations of Buyer under this

therefore not subject to any financing contingency.

        4.8     Representations and Warranties of Buyer. The representations and warranties of
Buyer contained herein do not contain any statement of a material fact that was untrue when made or
omits any information necessary to make any such statement contained therein, in light of the
circumstances under which such statement was made, not misleading. The copies of all documents
furnished by Buyer to Sellers pursuant to the terms of this Agreement are complete and accurate
copies of the original documents.

                                            ARTICLE V

                     CONDUCT OF BUSINESS PENDING THE CLOSING

        Between the date hereof and the Closing, and except as otherwise consented to by Buyer in
writing, Sellers covenant as follows:

        5.1     Access. From and after the date of execution of this Agreement by Sellers or
following the completion of the Auction at which Buyer is determined by Sellers to be the winning
bidder, whichever occurs first, Sellers shall give to Buyer and its representatives access during
normal business hours to the premises, employees, agents and consultants of Sellers, and such copies
                                                    and other documentation, so as to enable Buyer to
inspect and evaluate all aspects of the Business and operations, assets, operating results, financial
condition, capitalization, ownership, and legal affairs relating to the Business pending the Closing.
Buyer agrees to conduct its review, and to cause its representatives to conduct their review, in a
manner designed to minimize any disruption of Selle
information obtained pursuant to this Section 5.1 in accordance with the confidentiality provisions of
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        5.2     Conduct of the Business. From and after the date of execution of this Agreement by
Sellers or following the completion of the Auction at which Buyer is determined by Sellers to be the
winning bidder, whichever occurs first, Sellers shall operate and conduct the Business diligently and
only in the ordinary course, consistent with past practices and not make any material change in their
methods of accounting, management, marketing or operations, except as otherwise approved by the
Bankruptcy Court or as otherwise set forth in any cash collateral or debtor-in-possession financing

otherwise is obtained (which consent shall not be unreasonably withheld or delayed), Sellers shall:

                  (a) Organization. Use their reasonable good faith efforts to preserve intact their
   organizations and use their reasonable efforts to retain their employees involved in the Business
   and the services of their vendors, suppliers, agents and consultants, commensurate with the
   requirements of the Business;

                   (b) Insurance. Maintain insurance consistent with past practices and not take
   any action to terminate or modify, or permit the lapse or termination of, the present insurance
   policies and coverages of Sellers;

                   (c) Agreements.

                      (i)       Observe and perform all of their post-bankruptcy obligations under
the Assigned Contracts;

                       (ii)  Except as required by any existing contracts or agreements, not enter
into any new agreement that would constitute an Assigned Contract or amend, cancel or terminate
any Assigned Contract;

                        (iii)  Promptly notify Buyer of the occurrence of any post-bankruptcy
breach or default of any Assigned Contract known to Sellers; and

                         (iv)    Not encourage or incentivize any employee involved in the Business
to leave their current position or alter their responsibilities with Sellers or increase the compensation,
incentive arrangements or other benefits of any employee other than in the ordinary course of the
Business consistent with past practices;

                   (d) Consents; Compliance with Laws to the Extent Related to the Business.

                       (i)     Use reasonable efforts to obtain all consents to assignments of
governmental authorities which are customers of the Business, and maintain all other licenses,
permits and franchises and rights to operate the Business granted by, governmental authorities;

                       (ii)   Not take any action which would be expected to result in a violation
of or in the noncompliance with any laws or regulations applicable to the Business; and

                        (iii)   Cooperate with Buyer and render to Buyer such assistance as Buyer

approvals;
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                   (e) Taxes. Pay, when due, and prior to the imposition or assessment of any
  interest, penalties or liens by reason of the nonpayment of, all post-bankruptcy Taxes, due or
  assessed against them, except for any Taxes being contested in good faith; and

                  (f) Representations and Warranties. Not take any action that would make any
  representation and warranty of Sellers inaccurate as of the Closing Date.

       5.3     Notification of Certain Matters. Sellers shall give prompt notice to Buyer of (i) the

of which would cause any representation or warranty of Sellers contained in this Agreement to be
untrue or inaccurate in any material respect at or prior to the Closing Date and (ii) any failure to
comply with or satisfy any covenant, condition or agreement to be complied with or satisfied by
Sellers hereunder; provided, however, that the delivery of any notice pursuant to this Section 5.3
shall not limit or otherwise affect the remedies available hereunder to Buyer.

                                           ARTICLE VI

                         OBLIGATIONS SURVIVING THE CLOSING

        6.1     Further Assurances. Each Party shall execute and deliver after the date hereof such
instruments and take such other actions as the other Party may reasonably request in order to carry
out the intent of this Agreement or to better evidence or effectuate the transactions contemplated
herein.

        6.2    Expenses. Each Party shall pay all of its respective costs and expenses incurred or to
be incurred by it in negotiating and preparing this Agreement and in carrying out and closing the
transactions contemplated by this Agreement whether or not this Agreement or the transactions
contemplated hereby are ever consummated.

        6.3     Taxes. Buyer shall pay all Taxes of any kind or nature arising from the sale and
transfer of the Purchased Assets to Buyer. Sellers shall pay all Taxes of any kind or nature arising
from the conduct or operation of the Business up to the Closing Date. If any Taxes required under
this Section 6.3 to be borne by Sellers are assessed against Buyer or any of the Purchased Assets,
Buyer shall notify Sellers in writing promptly thereafter and Sellers shall be entitled to contest, in
good faith, such assessment or charge so long as such assessment does not materially adversely affect

(but shall not be obligated to) pay any such Taxes assessed against it, its business or any of the

the reasonable judgment of the Buyer, could result in the immediate imposition of an Encumbrance
on any of the Purchased Assets or any other assets of the Buyer or if Sellers fail to contest such
assessment or charge diligently and in good faith.

                                           ARTICLE VII

                 SURVIVAL OF REPRESENTATIONS AND WARRANTIES

       Except as specifically set forth in Article VI above, all of the respective representations and
warranties of Sellers and Buyer set forth in this
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schedules, or in any certificates delivered by such Party on the Closing Date, shall terminate effective
as of the Closing.

                                           ARTICLE VIII

              CONDITIONS PRECEDENT TO THE OBLIGATIONS OF BUYER

        The obligation of Buyer to consummate its purchase of the Purchased Assets from Sellers is
subject to the fulfillment, or the waiver by Buyer, at or prior to the Closing, of each of the following
conditions precedent:

        8.1     Representations and Warranties. The representations and warranties made by
Sellers in this Agreement shall be true and correct in all material respects, unless modified by
materiality in the representation or warranty, in which case they shall be true and correct in all
respects, on the date hereof and at and as of the Closing Date, with the same force and effect as if
made again at and as of that time.

        8.2     Absence of Stay or Injunction Preventing Sale Closing. There shall be no order
that has been issued by any court or governmental agency having jurisdiction that restrains or
prohibits the consummation of the purchase and sale of the Purchased Assets hereunder.

        8.3     Performance of Obligations. Sellers shall have performed and complied, in all
material respects, with all of the covenants required by this Agreement to have been performed prior
to the Closing.

        8.4      Delivery of Additional Instruments. On the Closing Date, Sellers shall deliver, or
cause to be delivered to Buyer, the following documents and instruments, in form and substance
satisfactory to Buyer and its counsel, unless waived in writing by Buyer:

                   (a) The Bill of Sale and Assumption Agreement in substantially the form of


                  (b) Evidence of the receipt of all third-party consents necessary, if any, to enable
   Sellers to consummate the transactions contemplated herein, which consents are identified on

   assumption and assignment to Buyer of the Assigned Contracts; and

                 (c)
  reasonably request so as better to evidence or effectuate the transactions contemplated hereby.

        8.5     Sale Order. The Bankruptcy Court shall have entered the Sale Order in form
reasonably acceptable to Buyer, approving the sale or sale of the Purchased Assets on the terms
specified in this Agreement. The Sale Order shall provide that, among other things, the Purchased
Assets are sold free and clear of Encumbrances; Buyer shall not be subject to successor liability on
account of its purchase of the Purchased Assets. At the time of the Closing, the Sale Order shall not
have been reversed, stayed, modified or amended in any manner materially adverse to Buyer. The

and the existence of any pending appeal of the Sa
failure to consummate the transactions contemplated hereby.
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                                           ARTICLE IX

               CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLERS

        The obligation of Sellers to consummate the sale of the Purchased Assets to Buyer is subject
to the fulfillment, or the waiver by Sellers, at or prior to the Closing, of each of the following
conditions precedent:

        9.1     Representations and Warranties. The representations and warranties made by
Buyer in this Agreement shall be true and correct in all material respects, unless modified by
materiality in the representation or warranty, in which case they shall be true and correct in all
respects, on the date hereof and at and as of the Closing Date, with the same force and effect as if
made again at and as of that time.

        9.2     Absence of Stay or Injunction Preventing Sale Closing. There shall be no order
that has been issued by any court or governmental agency having jurisdiction that restrains or
prohibits the consummation of the purchase and sale of the Purchased Assets hereunder.

        9.3      Performance of Obligations. Buyer shall have performed and complied in all
material respects with all of its covenants required by this Agreement to have been performed by it at
or prior to the Closing.

        9.4      Delivery of Additional Instruments. On the Closing Date, Buyer shall deliver, or
cause to be delivered to Sellers, the following documents and instruments, in form and substance
satisfactory to Sellers and their counsel, unless waived in writing by Sellers:

                  (a) The Bill of Sale duly executed by Buyer; and

                 (b)
  reasonably request so as better to evidence or effectuate the transactions contemplated hereby.

      9.5      Delivery of Consideration. At the Closing, Buyer shall deliver to Sellers a cash
payment in the remaining amount of the Purchase Price.

                                            ARTICLE X

                                          THE CLOSING


at the offices of Levene, Neale, Bender, Yoo & Golubchik L.L.P. or at such other place as the parties
may agree and shall occur no later than ____________, 2022, or by such later date and time upon
which the Buyer and Sellers mutually agree, subject to the satisfaction or waiver of the closing


        10.1 Closing Deliveries of Sellers. At the Closing, Seller shall deliver, or cause to be
delivered to Buyer, the documents and instruments set forth in Section 8 above, in form and
substance reasonably satisfactory to Buyer and its counsel.
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        10.2 Closing Deliveries of Buyer. At the Closing, Buyer shall deliver, or cause to be
delivered, the remaining Purchase Price to Sellers and the documents and instruments set forth in
Section 9 above, in form and substance reasonably satisfactory to Sellers and their counsel.

                                           ARTICLE XI

                                         TERMINATION

        11.1 Termination. Notwithstanding anything contained in this Agreement to the
contrary, this Agreement may be terminated at any time prior to the Closing Date:

                 (a) by mutual written agreement of Buyer and Sellers;

                  (b) by Buyer if there has been a material breach by Sellers of their
  representations, warranties or covenants set forth herein which is not or cannot be cured by Sellers
  prior to the Closing or if any material condition to the obligation of Buyer under this Agreement to
  be complied with or performed by Sellers at or before the Closing shall not have been complied
  with or performed at the time required for such compliance or performance and such
  noncompliance or nonperformance shall not have been waived by Buyer or cured by Sellers prior
  to the Closing;

                 (c) by either Buyer or Sellers if any judgment, injunction, order or decree of a
  court or other governmental entity of competent jurisdiction enjoining Buyer or Sellers from
  consummating the transactions contemplated by this Agreement shall have been entered; or

                 (d) by Sellers if there has been a material breach by Buyer of its representations,
  warranties or covenants set forth herein which is not or cannot be cured by Buyer prior to the
  Closing or if any material condition to the obligation of Sellers under this Agreement to be
  complied with or performed by Buyer at or before the Closing shall not have been complied with
  or performed at the time required for such compliance or performance and such noncompliance or
  nonperformance shall not have been waived by Seller or cured by Buyer prior to the Closing;

        11.2 Procedure Upon Termination. In the event of termination of this Agreement by
Buyer or Sellers or by both Buyer and Sellers pursuant to Section 11.1 hereof, the transactions
contemplated herein shall be abandoned without further action by Buyer or Sellers. In addition, if
this Agreement is terminated as provided herein:

                  (a) Each Party will redeliver all documents, workpapers and other material of any
  other party relating to the transactions contemplated hereby, whether so obtained before or after
  the execution hereof, to the party furnishing the same.

                  (b) All information of a confidential nature received by any party hereto with
  respect to the business of any other party (other than information which is a matter of public
  knowledge or which has heretofore been or is hereafter published in any publication for public
  distribution or filed as public information with any governmental authority) shall continue to be
  subject to any NDA between Buyer and Sellers.

                  (c) Upon any termination of this Agreement pursuant to this Section 11, the
  respective obligations of the Parties under this Agreement shall terminate and no Party shall have
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  any liability whatsoever to any other Party by reason of such termination, irrespective of the cause
  of such termination, except as set forth in this Section.

       11.3    Forfeiture of Deposit as Liquidated Damages.

        As indicated in Section 2.1 above, if Buyer is determined by Sellers to be the winning bidder
at the Auction and, subject to the entry of the Sale Order by the Bankruptcy Court, Buyer fails to
consummate its purchase by the Outside Closing Date (unless Buyer and Sellers jointly agree to
extend the Outside Closing Date), Buyer shall be deemed to have permanently forfeited the Deposit
with Sellers as liquidated damages.

                                           ARTICLE XII

                                        MISCELLANEOUS

         12.1 Assignment. Neither Sellers nor Buyer may assign this Agreement, or assign any of
their rights or delegate any of their duties hereunder, without the prior written consent of the other
Party. This Agreement will be binding upon, inure to the benefit of, and be enforceable by the
Parties and their respective successors and assigns.

       12.2 Severability. Any provision of this Agreement which is illegal, invalid or
unenforceable shall be ineffective to the extent of such illegality, invalidity or unenforceability,
without affecting in any way the remaining provisions hereof.

        12.3 Governing Law. This Agreement shall be governed by and construed in accordance
with the Bankruptcy Code, to the extent applicable, and, where state law is implicated, the internal
laws of the state of California, without giving effect to any principles of conflicts of law. Without

dispute arises out of or in connection with this Agreement or any of the documents executed
hereunder or in connection herewith, the Bankruptcy Court shall have exclusive personal and subject
matter jurisdiction and shall be the exclusive venue to resolve any and all disputes relating to this
Agreement. The Bankruptcy Court shall have sole jurisdiction over such matters and the parties
affected thereby, and Buyer and Sellers each hereby consent and submit to such jurisdiction;
provided, however, that if the Bankruptcy Cases have closed and cannot be reopened, the Parties
agree to unconditionally and irrevocably submit to the exclusive jurisdiction of the United States
District Court for the district in which the Bankruptcy Court is located and any appellate court
thereof, for the resolution of any such claim or dispute. The Parties hereby irrevocably waive, to the
fullest extent permitted by applicable law, any objection which they may now or hereafter have to the
laying of venue of any such dispute brought in such court or any defense of inconvenient forum for
the maintenance of such dispute. Each of the Parties hereto agrees that a judgment in any such
dispute may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by law. In the event any such action, suit or proceeding is commenced, the Parties hereby
agree and consent that service of process may be made, and personal jurisdiction over any Party
hereto in any such action, suit or proceeding may be obtained, by service of a copy of the summons,
complaint and other pleadings required to commence such action, suit or proceeding upon the Party
at the address of such Party set forth in Section 12.8 hereof, unless another address has been
designated by such Party in a notice given to the other Party in accordance with the provisions of
Section 12.8 hereof.
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        12.4 Entire Agreement; Amendment. This Agreement and the Exhibits and Schedules
hereto, and each additional agreement and document to be executed and delivered pursuant hereto,
constitute all of the agreements of the Parties with respect to, and supersede all prior agreements and
understandings relating to the subject matter of, this Agreement or the transactions contemplated by
this Agreement. This Agreement may not be modified or amended except by a written instrument
specifically referring to this Agreement signed by the Parties.

        12.5 Waiver.
default hereunder by any other Party, shall be valid or effective, unless such waiver is set forth in
writing and is signed by the Party giving such waiver; and no such waiver shall be deemed a waiver
of any subsequent breach or default of the same or similar nature or any other breach or default by
such other Party.

        12.6 Interpretation; Headings.
between the Parties and no provision hereof, because of any ambiguity found to be contained therein
or otherwise, shall be construed against a Party by reason of the fact that such Party or its legal
counsel was the draftsman of that provision. The section, subsection and any paragraph headings
contained herein are for the purpose of convenience only and are not intended to define or limit or
affect, and shall not be considered in connection with, the interpretation of any of the terms or
provisions of this Agreement.

        12.7 Counterparts. This Agreement may be executed in separate counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument. This Agreement shall become effective when counterparts have been signed by each of
the Parties and delivered by facsimile or other means to the other Party. Signatures transmitted by
facsimile or electronically shall be deemed to have the same force and effect as original signatures.

       12.8 Notices. Any notice shall be in writing and shall be deemed to have been duly given
or made when personally delivered, sent by facsimile or when mailed by registered or certified mail,
postage prepaid, return receipt requested, addressed or directed as follows, or as may be furnished

the following parties. Any Party may from time to time, by written notice to the other Party,
designate a different address, which shall be substituted for the one specified below. In addition to
any other means of deliverance provided, all notices provided hereunder must also be delivered by
email.

       If to Sellers:

               _______________________
               _______________________
               _______________________
               Attn: __________________
               Email:
               Fax: (___) ___-____
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        with a copy to (which shall not constitute notice) given in a like manner to:

                Ron Bender, Esq.
                Levene, Neale, Bender, Yoo & Golubchik L.L.P.
                2818 La Cienega Ave.
                Los Angeles, California 90034
                Email: RB@LNBYG.COM
                Fax: (310) 229-1244

        If to Buyer, to:

                _______________________
                _______________________
                _______________________
                Attn: __________________
                Email:
                Fax: (___) ___-____

        with a copy to (which shall not constitute notice) given in a like manner to:


                _______________________
                _______________________
                _______________________
                Attn: __________________
                Email:
                Fax: (___) ___-____

        12.9 Public Announcements. Neither Sellers nor Buyer will make any public
announcements concerning matters set forth in this Agreement or the negotiation thereof without the
prior written consent of the other Party unless such disclosure is required by law or court order or the
information is otherwise publicly available, including in any filings with the Bankruptcy Court. Any
such disclosure shall be provided for review to the other Party in advance of public release to the
extent reasonably practical.

        12.10 Attorneys Fees. If any action or proceeding relating to this Agreement or the
enforcement of any provision of this Agreement is brought by a Party against any other Party, the
prevailing Party shall be entitled to recover reasonab
addition to any other relief to which the prevailing Party may be entitled).



              [SIGNATURES ARE CONTAINED ON THE FOLLOWING PAGE]
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       IN WITNESS WHEREOF, each of Sellers and Buyer has caused a duly authorized
representative to execute this Asset Purchase Agreement on the date first written above.



                                        BUYER:

                                        ___________________,
                                        a ________ corporation

                                        By:

                                        Name: ___________________
                                        Title: ___________________



                                        SELLERS:

                                        TRX HOLDCO, LLC,
                                        a Delaware corporation

                                        By:

                                        Name: _______________
                                        Title: _______________

                                        FITNESS ANYWHERE LLC, dba
                                        TRX AND TRX TRAINING
                                        a Delaware corporation

                                        By:

                                        Name: _______________
                                        Title: _______________
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                                           SCHEDULES
Schedule 1.1(a)       Fixed Assets
Schedule 1.1(b)       Assigned Contracts
Schedule 1.1(d)       Accounts
Schedule 1.1(f)       Licenses and Permits
Schedule 1.1(g)       Leased Real Property
Schedule 1.1(h)       Inventory
Schedule 1.1(i)       Intellectual Property Rights
Schedule 1.1(l)       Customer Lists
Schedule 1.2          Excluded Assets
Schedule 1.3          Assumed Obligations
Schedule 3.3          Exceptions to Purchased Assets Sold Free/Clear of Encumbrances
Schedule 8.5          Third Party Consents


                                            EXHIBITS


Exhibit A      Definitions

Exhibit B      Purchase Price Allocation

Exhibit C      Form of Bill of Sale and Assumption Agreement
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                                           EXHIBIT A

                                            Definitions


        For the purposes of this Agreement, unless the context otherwise requires, the following
terms shall have the respective meanings set forth below and grammatical variations of such terms
shall have corresponding meanings:


         Auction
Levene, Neale, Bender, Yoo & Golubchik L.L.P. on _____________, 2022, commencing at 10 a.m.
PT, with zoom participation permitted, all in accordance with the Bankruptcy Court approved
bidding procedures set forth in Docket No. ___.


                          means any lien, claim, interest or encumbrance of any nature.

                                             means, collectively, all (i) U.S. and foreign, whether
registered or unregistered, patents, trademarks, trade names, trade dress, service marks, copyrights,
and applications therefor, (ii) computer software programs or applications (in both source code and
object code form), (iii) industrial models, inventions
utility models, inventor rights, schematics, technology, (iv) trade secrets, know-how, and other
tangible information or material, and (v) confidential information and any other proprietary data or
information of any nature or form.

                      of a party shall mean the actual knowledge of any executive officer and the
knowledge that a reasonable person in such capacity would have obtained in the conduct of his or her
business under the same circumstances of service.




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                                  EXHIBIT B

                            Purchase Price Allocation




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                                  EXHIBIT C

                  Form of Bill of Sale and Assumption Agreement
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                        EXHIBIT "6"
 Joshua Benn

                        Josh serves as the head of          New York corporate finance practice, head of
                        Americas M&A and distressed special situations advisory practice and leads the       global
                        consumer investment banking practice. In addition, he serves on the      corporate finance
                        leadership committee and engagement acceptance committee. Josh leverages more than 25
                        years of investment banking experience.
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                        Prior to joining the firm as a founding partner, Josh served as a founding partner of Stone
                        Ridge Partners LLC, a consumer sector focused M&A advisory boutique and was a senior
                        member of the M&A and consumer sector coverage group at Thomas Weisel Partners and
                        Furman Selz, LLC. In addition, Josh served as director of corporate development for KSL
                        Recreation, a leading hospitality management and development platform backed by KKR.
 Managing Director
                                                                                                                       Main Document




 Head of Americas M&A   Josh has managed merger, acquisition, divestiture, recapitalization, restructuring and
 Advisory               distressed M&A transactions for a variety of public and privately-owned clients. Some of his
                        notable clients include: Chargriller, Twin Peaks, Legal Seafood, U.S. Fitness, Primanti
                        Brothers, House of Cheatham, Bowl America,                  , Eureka Restaurants, Weiman
Kroll Securities, LLC   Products, Hampshire Pet Products, Rock Bottom Restaurants, Noodles & Company,
                        Tourneau, Marlin Firearms, Traeger Wood Pellet Grills, Osprey Packs, Dover Saddlery,
New York                Standard Furniture, HMI, Inc., and Eastern Mountain Sports.
                                                                                                                                        Page 59 of 65




+1 212 450 2840         Josh received a B.A. in political science and French from Dartmouth College. He serves on
Joshua.Benn@kroll.com   several private company boards of directors and is a FINRA Series 7, 24, and 63 registered
                        representative.
                                                                                                                       Doc 90 Filed 06/23/22 Entered 06/23/22 15:23:59
                                                                                                                                               Desc




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF JOSHUA K. BENN IN
                                      R ENTRY OF ORDER (I) ESTABLISHING BIDDING PROCEDURES FOR FREE
AND CLEAR SALE OF ASSETS; (II) ESTABLISHING PROCEDURES RELATING TO ASSUMPTION AND
ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (III) APPROVING FORMS OF NOTICE;
(IV) APPROVING FORM OF ASSET PURCHASE AGREEMENT; (V) SCHEDULING AN AUCTION; (VI) SCHEDULING
A SALE HEARING; AND (VII) GRANTING RELATED RELIEF will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 23, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

        Ron Bender rb@lnbyb.com
        Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
        Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
        Jonathan Gottlieb jdg@lnbyg.com
        Michael J Hauser michael.hauser@usdoj.gov
        Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
        Krikor J Meshefejian kjm@lnbyg.com
        Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
        Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
        Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 23, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 23, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

                                                               Service information BY OVERNIGHT MAIL continued on attached page

                                                                               Service information BY EMAIL continued on attached page



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 23, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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In re Fitness Anywhere LLC and         Core Health & Fitness, LLC              Office of the U.S. Trustee
TRX                                    Sy Mares                                Michael J Hauser
File No. 9745                          smares@corehandf.com                    Michael.hauser@usdoj.gov
RSN UST, 20 Largest and Secured
EMAIL LIST

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                                       (949) 466-1897                          mjsilverman@duanemorris.com



NetSuite Inc                           ISUPPORT WORLDWIDE LLC                  Syzygy Digital Marketing, Inc
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                                       cbissett@isupportworldwide.com          Geanina Scuipici
                                                                               Geanina.Scuipici@syzygy.co.uk



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Bryan Arp                             Michael I. Gottfried, Esq.
bryanarp@gmail.com                     mgottfied@elkinskalt.com


                                                                               Woodforest National Bank
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                                       mindick@mofo.com


SprintFWD, LLC                        Comma,8 LLC
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                                                                               amojdehi@btlaw.com
                                                                               arego@btlaw.com



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crivas@reedsmith.com; bryanarp@gmail.com; amojdehi@btlaw.com; arego@btlaw.com
        Case 8:22-bk-10948-SC   Doc 90 Filed 06/23/22 Entered 06/23/22 15:23:59       Desc
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                                                                   Michael J Hauser
In re TRX Holdco, LLC                                              United States Trustee
File No. 9745                                                      411 W Fourth St Suite 7160
RSN UST, 20 Largest, Secured                                       Santa Ana, CA 92701-4593
 SERVICE BY OVERNIGHT MAIL


                                  Cole Schotz P.C.                 Creative Artists Agency
Baker Tilly US, LLP               25 Main Street P.O. Box 800      Attn: Jeffrey Freedman
10 Terrace Court PO Box 7398      Hackensack, NJ 07602             2000 Avenue of the Stars
Madison, WI 53707-7398                                             Los Angeles, CA 90067


JMBM LLP                          Morrison & Morrison              Sterling Legal Solutions, Inc.
1900 Avenue of the Stars          222 Souther Riverside Plaza      Attn: Stephanie Sterling
Los Angeles, CA 90067             Chicago, IL 60606                26895 Aliso Creek Rd., B-129
                                                                   Aliso Viejo, CA 92656


UDR-Eight 80                      UDR-Eight 80                     Sterling Legal Solutions, Inc.
1590 Adams Avenue                 Agent for Service of Process     Agent for Service of Process
PO Box 2350                       330 N. Brand Blvd., Suite 700    720 14th Street
Costa Mesa, CA 92628              Glendale, CA 91203               Sacramento, CA 95814

SprintFWD, LLC                    Comma,8 LLC
Attn: Bryan Arp                   Attn: Bryan Arp
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Hermosa Beach CA 90254-0000       Hermosa Beach CA 90254-0000
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In re Fitness Anywhere LLC          Counsel for Woodforest National Bank   Michael J Hauser
File No. 9744                       ReedSmith                              United States Trustee
RSN UST, 20 Largest and Secured     Marsha Houston/Christopher Rivas       411 W Fourth St Suite 7160
                                    355 South Grand Avenue, Suite          Santa Ana, CA 92701-4593
SERVICE BY OVERNIGHT MAIL
                                    2900 Los Angeles, CA, 90071

Committee                           Committee                              Committee
Exemplar Design, LLC                Core Health & Fitness, LLC             United Parcel Service, Inc.
Attention: Matt Nelson              Attention: Sy Mares                    Attention: Farah C. Spainhour
4680 Parkway Drive, Suite 300       4400 NE 77th Avenue, Suite 250         55 Glenlake Parkway
                                                                           Atlanta, GA 30328
Mason, OH 45040                     Vancouver, WA 98662

Morrison & Foerster LLP             Core Health & Fitness, LLC             Stephen Gould Corporation
Attn: Murray A. Indick              4400 Northeast 77th Avenue             35 South Jefferson Road
425 Market Street                   Suite 300                              Whippany, NJ 07981
San Francisco CA 94105-0000         Manufacturer Land America
                                    Vancouver, WA 98662

Flexport Inc                        UPS Plan 0386NE                        Duane Morris LLP
P.O. Box 207244                     55 Glenlake Parkway NE                 30 South 17th Street
Dallas, TX 75320-7244               Atlanta, GA 30328                      Philadelphia, PA 19103-4196



Buy Box Experts                     MAN Staffing, LLC                      Syzygy Digital Marketing, Inc
3020 N Cullen Ct. Pleasant          550 East Del Amo Boulevard             41 Flatbush Avenue
Grove, UT 84062                     Carson, CA 90746                       Brooklyn, NY 11217



Lahlouh Inc                         US Customs and Border Protection       McCollister's Transportation Group, Inc
Attn: H. John Lahlouh               PO BOX 979126                          8 Terri Lane
1649 Adrian Road                    St. Louis, MO 63197-9000               Burlington, NJ 08016
Burlingame, CA 94010


NetSuite Inc                        Google                                 AMEX Corp Card
500 Oracle Parkway                  P.O. Box 39000                         P.O. Box 0001
Redwood City, CA 94065              San Francisco, CA 94139                Los Angeles, CA 90096



The Trade Desk                      Dirbos Inc.                            Redwood Supply Chain Solutions
42 N Chestnut St.                   27758 Santa Margarita Pkwy             1765 North Elston Avenue Suite 216
Ventura, CA 93001                   Suite 366                              Chicago, IL 60642
                                    Mission Viejo, CA 92691


USA Global Logistics LLC            ISUPPORT WORLDWIDE LLC                 Core Health & Fitness, LLC
255 Madsen Drive                    1019 West James St                     Agent for Service of Process
Bloomingdale, IL 60108              Kent, WA 98032                         330 N. Brand Blvd, Ste 700
                                                                           Glendale, CA 91203


Stephen Gould Corporation           Flexport Inc.                          United Parcel Service, Inc.
Agent for Service of Process        Agent for Service of Process           Agent for Service of Process
2710 Gateway Oaks Drive             5716 Corsa Ave.                        2710 Gateway Oaks Dr.
Ste 150N                            Ste 110                                Ste 150N
Sacramento, CA 95833                Westlake Village, CA 91362             Sacramento, CA 95833
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                                   Netsuite Inc.                        Google
Systems, Inc.                      Agent for Service of Process         Agent for Service of Process
Agent for Service of Process       2710 Gateway Oaks Dr.                2710 Gateway Oaks Dr.
2710 gateway Oaks Dr.              Ste 150N                             Ste 150N
                                                                        Sacramento, CA 95833
Ste 150N                           Sacramento, CA 95833
Sacramento, CA 95833


Man Staffing LLC                   Trade Desk                           Dirbos
Attn: Miguel A Navarro             Agent for Service of Process         Agent for Service of Process
                                                                        101 N. Brand Blvd. 11th Floor
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Suite C                            Ste 150N
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